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                          UNITED STATES DISTRICT COURT


                             FOR THE DISTRICT OF IDAHO

  LINDSAY HECOX, et al.,
                                                    Case No. 1:20-cv-00184-DCN

         Plaintiffs,                                MEMORANDUM DECISION AND
                                                    ORDER
          v.

  BRADLEY LITTLE, et al.;

         Defendants.


       This matter is before the Court on Plaintiffs’ Motion for Preliminary Injunction,

proposed intervenors’ Motion to Intervene, and Defendants’ Motion to Dismiss. The Court

held oral argument on July 22, 2020 and took the matters under advisement.

       Upon review, and for the reasons stated below, the Court GRANTS the Motion for

Preliminary Injunction (Dkt. 22); GRANTS the Motion to Intervene (Dkt. 30); and

GRANTS in PART and DENIES in PART the Motion to Dismiss (Dkt. 40).

                                       I. OVERVIEW

       Plaintiffs in this case challenge the constitutionality of a new Idaho law which

excludes transgender women from participating on women’s sports teams. Defendants

assert Plaintiffs lack standing, that their claims are not ripe for review, that certain of their

claims fail as a matter of law, and that they are not entitled to injunctive relief. The

proposed intervenors seek to intervene to advocate for their interests as female athletes and


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to defend the law Plaintiffs challenge. The United States has also filed a Statement of

Interest in support of Idaho’s law. Dkt. 53.

       The primary question before the Court—whether the Court should enjoin the State

of Idaho from enforcing a newly enacted law which precludes transgender female athletes

from participating on women’s sports—involves complex issues relating to the rights of

student athletes, physiological differences between the sexes, an individual’s ability to

challenge the gender of other student athletes, female athlete’s rights to medical privacy

and to be free from potentially invasive sex identification procedures, and the rights of all

students to have complete access to educational opportunities, programs, and activities

available at school. The debate regarding transgender females’ access to competing on

women’s sports teams has received nationwide attention and is currently being litigated in

both traditional courts and the court of public opinion.

       Despite the national focus on the issue, Idaho is the first and only state to

categorically bar the participation of transgender women in women’s student athletics. This

categorical bar to girls and women who are transgender stands in stark contrast to the

policies of elite athletic bodies that regulate sports both nationally and globally—including

the National Collegiate Athletic Association (“NCAA”) and the International Olympic

Committee (“IOC”)—which allow transgender women to participate on female sports

teams once certain specific criteria are met.

       In addition to precluding women and girls who are transgender and many who are

intersex from participating in women’s sports, Idaho’s law establishes a “dispute” process

that allows a currently undefined class of individuals to challenge a student’s sex. Idaho


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Code § 33-6203(3). If the sex of any female student athlete—whether transgender or not—

is disputed, the student must undergo a potentially invasive sex verification process. This

provision burdens all female athletes with the risk and embarrassment of having to “verify”

their “biological sex” in order to play women’s sports. Id. Similarly situated men and

boys—whether transgender or not—are not subject to the dispute process because Idaho’s

law does not restrict individuals who wish to participate on men’s teams.

       Finally, as an enforcement mechanism, Idaho’s law creates a private cause of action

against a “school or institution of higher education” for any student “who is deprived of an

athletic opportunity” or suffers any harm, whether direct or indirect, due to the participation

of a woman who is transgender on a women’s team. Id. § 33-6205(1). Idaho schools are

also precluded from taking any “retaliation or other adverse action” against those who

report an alleged violation of the law, regardless of whether the report was made in good

faith or simply to harass a competitor. Id. at § 33-6205(2).

       Plaintiffs seek a preliminary injunction which would enjoin enforcement of Idaho’s

law pending trial on the merits. The Court will ultimately be required to decide whether

Idaho’s law violates Title IX and/or is unconstitutional, but that is not the question before

the Court today. The question currently before the Court is whether Plaintiffs have met the

criteria for enjoining enforcement of Idaho’s law for the present time until a trial on the

merits can be held. To issue an injunction preserving the status quo by enjoining the law’s

enforcement, the Court must primarily decide whether Plaintiffs have constitutional and

prudential standing to challenge the law, whether they state facial or only as-applied

constitutional challenges, and whether they are likely to succeed on their claim, based upon


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the current record, that the law violates the Equal Protection Clause of the Fourteenth

Amendment.

                                         II. BACKGROUND

          On March 30, 2020, Idaho Governor Bradley Little (“Governor Little”) signed the

Fairness in Women’s Sports Act (the “Act”) into law. Idaho Code Ann. § 33-6201–6206.1

Plaintiffs’ Complaint challenges the constitutionality of the Act. Among other things,

Plaintiffs contend that the Act violates their constitutional rights to equal protection, due

process, and the right to be free from unconstitutional searches and seizures. Plaintiffs seek

preliminary relief solely on their equal protection claim, arguing the Act discriminates on

the basis of transgender status by categorically barring transgender women from

participating in women’s sports, and also discriminates on the basis of sex by subjecting

all women student-athletes to the risk of having to undergo invasive, unnecessary tests to

“verify” their sex, while permitting all men student-athletes to participate in men’s sports

without such risk. Plaintiffs seek a preliminary injunction to enjoin enforcement of the Act

pending trial on the merits.

          A. Definitions

          As the Third Circuit recently explained, in the context of issues such as those raised

in the instant case, “such seemingly familiar terms as ‘sex’ and ‘gender’ can be

misleading.” Doe ex rel. Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 522 (3d Cir.

2018). The Court accordingly begins by defining relevant terms utilized in this decision.



1
    The Act went into effect on July 1, 2020. Idaho Code § 33-6201.


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        “Sex” is defined as the “anatomical and physiological processes that lead to or

denote male or female. Typically, sex is determined at birth based on the appearance of

external genitalia.” Id.

        A person’s “gender identity” is his or her “deep-core sense of self as being a

particular gender.” Id. “Although the detailed mechanisms are unknown, there is a medical

consensus that there is a significant biologic component underlying gender identity.” Dkt.

22-9, ¶ 18.2

        The term “cisgender” refers to a person who identifies with the sex that person was

determined to have at birth. Boyertown, 897 F.3d at 522.

        “Transgender” refers to “a person whose gender identity does not align with the sex

that person was determined to have at birth.” Id. A transgender woman “is therefore a

person who has a lasting, persistent female gender identity, though the person’s sex was

determined to be male at birth.” Id.

        Transgender individuals may experience “gender dysphoria,” which is

“characterized by significant and substantial distress as result of their birth-determined sex

being different from their gender identity.” Id. “In order to be diagnosed with gender



2
  The Court relies on various declarations filed in support of the Motion for Preliminary Injunction and
Motion to Intervene for medical definitions of the terms used herein, and to identify the proposed
intervenors and their arguments. The Court also considers extra-pleading materials when assessing
Plaintiffs’ Motion for Preliminary Injunction. The Court does not, however, rely on extra-pleading materials
(other than those of which it takes judicial notice) in its assessment of Defendants’ Motion to Dismiss, and
accordingly does not treat the Motion to Dismiss as a Motion for Summary Judgment. Olsen v. Idaho State
Bd. of Med., 363 F.3d 916, 921–22 (9th Cir. 2004) (finding a represented party’s submission of extra-
pleading materials justified treating the motion to dismiss as a motion for summary judgment). Pursuant to
Federal Rule of Evidence 201(c), the Court has discretionary authority to take judicial notice, regardless of
whether it is requested to do so by a party, and does in fact do so in this case as it relates to certain materials
identified below. Fed. R. Evid. 201.


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dysphoria, the incongruence must have persisted for at least six months and be

accompanied by clinically significant distress or impairment in social, occupational, or

other important areas of functioning.” Dkt. 22-2, ¶ 19. If left untreated, symptoms of gender

dysphoria can include severe anxiety and depression, suicidality, and other serious mental

health issues. Id. at ¶ 20. Attempted suicide rates in the transgender community are over

40%. Dkt. 1, at ¶ 103.

       The term “intersex” is an umbrella term for a person “born with unique variations

in certain physiological characteristics associated with sex, “such as chromosomes,

genitals, internal organs like testes or ovaries, secondary sex characteristics, or hormone

production or response.” Dkt. 22-1, at 2 (citing Dkt. 22-2, ¶ 41). Some intersex traits are

identified at birth, while others may not be discovered until puberty or later in life, if ever.

See generally Dkt. 22-2, at 11–16.

       B. The Parties

       1. Plaintiffs

       Plaintiffs in this action include Lindsay Hecox, and Jean and John Doe on behalf of

their minor daughter, Jane Doe (collectively “Plaintiffs”).3 Lindsay is a transgender woman

athlete who lives in Idaho and attends Boise State University (“BSU”). As part of her

treatment for gender dysphoria, Lindsay has undergone hormone therapy by being treated

with testosterone suppression and estrogen, which lower her circulating testosterone levels

and affect her bodily systems and secondary sex characteristics. Dkt. 1, ¶ 29. Lindsay is a


3
 Plaintiffs Jean, John, and Jane Doe have been granted permission to proceed under pseudonyms. Dkt.
48.


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life-long runner who intends to try out for the BSU women’s cross-country team in fall

2020, and for the women’s track team in spring 2021. Id. at ¶ 33. Under current NCAA

rules, Lindsay could compete at NCAA events in September—when she has completed

one year of hormone treatment.4 Id. at ¶ 32.

        Jane is a 17-year old girl and athlete who is cisgender. Dkt. 1, ¶¶ 39, 42. Jane has

played sports since she was four and competes on the soccer and track teams at Boise High

School, where she is a rising senior. Id. at ¶¶ 40, 45. After tryouts in August, Jane intends

to play on Boise High’s soccer team again in fall 2020.5 Id. Because most of her closest

friends are boys, she has an athletic build, rarely wears skirts or dresses, and has at times

been thought of as “masculine,” Jane worries that one of her competitors may dispute her

sex pursuant to section 33-6203(3) of the Act. Id. at ¶ 47.

        2. Defendants

        The defendants named in this action (collectively “Defendants”) include Governor

Little; Idaho Superintendent of Public Instruction Sherri Ybarra; the individual members

of the Idaho State Board of Education (Debbie Critchfield, David Hill, Emma Atchley,

Linda Clark, Shawn Keough, Kurt Liebich, and Andrew Scoggin); Idaho state educational

institutions BSU and Independent School District of Boise City #1 (“Boise School




4
  Due to the COVID-19 pandemic, the Mountain West conference in which BSU participates recently
postponed sports competitions for fall sports. However, as of the date of this decision, BSU has not
announced whether it will alter the training programs or tryouts for the cross-country team, and the Court
has been advised by Plaintiffs’ counsel that Lindsay is continuing her individual training program in
preparation for tryouts.
5
  Although try-outs for the Boise High soccer team have recently been postponed, the Court has been
advised that small group training for the girls’ soccer team may begin as early as August 17, 2020.


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District”); BSU’s President, Dr. Marlene Tromp; Superintendent of the Boise School

District, Coby Dennis; the individual members of the Boise School District’s Board of

Trustees (Nancy Gregory, Maria Greeley, Dennis Doan, Alicia Estey, Dave Wagers, Troy

Rohn, and Beth Oppenheimer); and the individual members of the Idaho Code Commission

(Daniel Bowen, Andrew Doman, and Jill Holinka).

       3. Proposed Intervenors

       Proposed intervenors Madison (“Madi”) Kenyon and Mary (“MK”) Marshall

(collectively “Madi and MK” or the “Proposed Intervenors”) are Idaho cisgender female

athletes. Like Lindsay and Jane, Madi and MK are “female athletes for whom sports is a

passion and life-defining pursuit.” Dkt. 30-1, at 2. Madi and MK both run track and cross-

country on scholarship at Idaho State University (“ISU”) in Pocatello, Idaho. Id. Both

competed against a transgender woman athlete last year at the University of Montana and

had “deflating experiences” of running against and losing to that athlete. Id., at 3; Dkt. 30-

2, ¶¶ 12, 14–15; Dkt. 30-3, ¶ 11. The Proposed Intervenors support the Act and wish to

have their personal concerns fully set forth and represented in this case.

       C. The Act

       1. Overview

       Idaho passed House Bill 500 (“H.B. 500”), the genesis for the Act, on March 16,

2020. Dkt. 1, ¶ 90. In the United States, high school interscholastic athletics are generally

governed by state interscholastic athletic associations, such as the Idaho High School

Activities Association (“IHSAA”). Id. at ¶ 66. The NCAA sets policies for member

colleges and universities, including BSU. Id. at ¶ 67. Prior to the passage of H.B. 500, the


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IHSAA policy allowed transgender girls in K-12 athletics in Idaho to compete on girls’

teams after completing one year of hormone therapy suppressing testosterone under the

care of a physician for purposes of gender transition. Id. at ¶ 71. Similarly, the NCAA

policy allows transgender women attending member colleges and universities in Idaho to

compete on women’s teams after one year of hormone therapy suppressing testosterone.

Id. at ¶ 75.

       2. Legislative History

       On February 13, 2020, H.B. 500 was introduced in the Idaho House by

Representative Barbara Ehardt (“Rep. Ehardt”). On February 19, 2020, the House State

Affairs Committee heard testimony on H.B. 500. Id. at ¶ 80. Ty Jones, Executive Director

of the IHSAA, answered questions at that hearing and noted that no Idaho student had ever

complained of participation by transgender athletes, and no transgender athlete had ever

competed under the IHSAA policy regulating inclusion of transgender athletes. Id. at ¶ 81.

In addition, millions of student-athletes have competed in the NCAA since it adopted its

policy in 2011 of allowing transgender women to compete on women’s teams after one

year of hormone therapy suppressing testosterone, with no reported examples of any

disturbance to women’s sports as a result of transgender inclusion. Id. at ¶ 76. Rep. Ehardt

admitted during the hearing that she had no evidence any person in Idaho had ever

challenged an athlete’s eligibility based on gender. Id. at ¶ 80.

       On February 21, 2020, H.B. 500 was passed out of the House committee. Id. at ¶

82. On February 25, 2020, Idaho Attorney General Lawrence Wasden (“Attorney General

Wasden”) warned in a written opinion letter that H.B. 500 raised serious constitutional and


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other legal concerns due to the disparate treatment and impact it would have on both

transgender and intersex athletes, as well as its potential privacy intrusion on all female

student athletes. Id. at ¶ 83. On February 26, 2020, the House debated the bill. Rep. Ehardt

referred to two high school athletes in Connecticut and one woman in college who are

transgender and who participated on teams for women and girls. Id. at ¶ 84. Rep. Ehardt

argued that the mere fact of these athletes’ participation exemplified the “threat” the bill

sought to address. Id. The bill passed the House floor after the debate. Id.

       After passage in the House, H.B. 500 was heard in the Senate State Affairs

Committee and was passed out of Committee on March 9, 2020. Id. at ¶ 85. The next day,

the bill was sent to the Committee of the Whole Senate for amendment, and minor

amendments were made. Id. at ¶ 86. One day later, on March 11, 2020, the World Health

Organization declared COVID-19 a pandemic and many states adjourned state legislative

sessions indefinitely. Id. at ¶ 89. By contrast, the Idaho Senate remained in session and

passed H.B. 500 as amended on March 16, 2020. Id. at ¶ 90. After the House concurred in

the Senate amendments, the bill was delivered to Governor Little on March 19, 2020. Id.

       Professor Dorianne Lambelet Coleman, whose work was cited in the H.B. 500

legislative findings, urged Governor Little to veto the bill, explaining her research was

misused and that “there is no legitimate reason to seek to bar all trans girls and women

from girls’ and women’s sport, or to require students whose sex is challenged to prove their

eligibility in such intrusive detail.” Id. at ¶ 91. Professor Coleman endorsed the existing

NCAA rule, which mirrors the IHSAA policy, and stated: “No other state has enacted such

a flat prohibition against transgender athletes, and Idaho shouldn’t either.” Id.


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        Five former Idaho Attorneys General likewise urged Governor Little to veto the bill

“to keep a legally infirm statute off the books.” Id. at ¶ 92. They urged Governor Little to

“heed the sound advice” of Attorney General Wasden, who had “raised serious concerns

about the legal viability and timing of this legislation.” Id. Nevertheless, based on

legislative findings that, inter alia, “inherent, physiological differences between males and

females result in different athletic capabilities,” Governor Little signed H.B. 500 into law

on March 30, 2020.6 Idaho Code § 33-6202(8); Dkt. 1, ¶ 93.

        For purpose of the instant motions, the Act contains three key provisions. First, the

Act provides that “interscholastic, intercollegiate, intramural, or club athletic teams or

sports that are sponsored by a public primary or secondary school, a public institution of

higher education, or any school or institution whose students or teams compete against a

public school or institution of higher education” shall be “expressly designated as one (1)

of the following based on biological sex: (a) Males, men, or boys; (b) Females, women, or

girls; or (c) Coed or mixed.” Idaho Code § 33-6203(1). The Act mandates, “[a]thletic teams

or sports designated for females, women, or girls shall not be open to students of the male

sex.” Id. at § 33-6203(2). The Act does not contain comparable limitation for any

individuals—whether transgender or cisgender—who wish to participate on a team

designated for males.



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  On the same day, Governor Little also signed another bill into law, H.B. 509, which essentially bans
transgender individuals from changing their gender marker on their birth certificates to match their gender
identity. Id. at ¶ 93–94. Enforcement of H.B. 509 is currently being litigated in F.V. and Dani Martin v.
Jeppesen et al., 1:17-cv-00170-CWD, because another judge of this Court previously permanently enjoined
Idaho from enforcing a prior law that restricted transgender individuals from altering the sex designation
on their birth certificates. F.V. v. Barron, 286 F. Supp. 3d 1131, 1146 (D. Idaho 2018).


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       Second, the Act creates a dispute process for an undefined class of individuals who

may wish to “dispute” any transgender or cisgender female athlete’s sex. This provision

provides:

       A dispute regarding a student’s sex shall be resolved by the school or
       institution by requesting that the student provide a health examination and
       consent form or other statement signed by the student’s personal health care
       provider that shall verify the student’s biological sex. The health care
       provider may verify the student’s biological sex as part of a routine sports
       physical examination relying only on one (1) or more of the following: the
       student’s reproductive anatomy, genetic makeup, or normal endogenously
       produced testosterone levels. The state board of education shall promulgate
       rules for schools and institutions to follow regarding the receipt and timely
       resolution of such disputes consistent with this subsection.

Id. at § 33-6203(3).

       Third, the Act creates an enforcement mechanism to ensure compliance with its

provisions. Specifically, the Act creates a private cause of action for any student negatively

impacted by violation of the Act, stating:

       (1) Any student who is deprived of an athletic opportunity or suffers any
           direct or indirect harm as a result of a violation of this chapter shall have
           a private cause of action for injunctive relief, damages, and any other
           relief available under law against the school or institution of higher
           education.

       (2) Any student who is subject to retaliation or other adverse action by a
           school, institution of higher education, or athletic association or
           organization as a result of reporting a violation of this chapter to an
           employee or representative of the school, institution, or athletic
           association or organization, or to any state or federal agency with
           oversight of schools or institutions of higher education in the state, shall
           have a private cause of action for injunctive relief, damages, and any
           other relief available under law against the school, institution, or athletic
           association or organization.

       (3) Any school or institution of higher education that suffers any direct or



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          indirect harm as a result of a violation of this chapter shall have a private
          cause of action for injunctive relief, damages, and any other relief
          available under law against the government entity, licensing or
          accrediting organization, or athletic association or organization.

       (4) All civil actions must be initiated within two (2) years after the harm
           occurred. Persons or organizations who prevail on a claim brought
           pursuant to this section shall be entitled to monetary damages, including
           for any psychological, emotional, and physical harm suffered, reasonable
           attorney’s fees and costs, and any other appropriate relief.

Id. at § 33-6205.

       D. Procedural Background

       Plaintiffs filed the instant suit on April 15, 2020. The lawsuit primarily seeks: (1) a

judgment declaring that the Act violates the United States Constitution and Title IX, and

also violates such rights as applied to Plaintiffs; (2) preliminary and permanent injunctive

relief enjoining the Act’s enforcement; and (3) an award of costs, expenses, and reasonable

attorneys’ fees. Id. at 53–54. On April 30, 2020, Plaintiffs filed the instant Motion for

Preliminary Injunction, seeking preliminary relief on their Equal Protection Claim. Dkt.

22. The Proposed Intervenors filed a Motion to Intervene on May 26, 2020 (Dkt. 30), and

Defendants filed a Motion to Dismiss on June 1, 2020. Dkt. 40. After each was fully

briefed, the Court held oral argument on all three motions on July 22, 2020.

                                      III. ANALYSIS

       Since there are three pending motions with different applicable legal standards, the

Court will set forth the appropriate legal standard when addressing each motion. Because

the Court’s decision on the Motion to Intervene will determine the parties in this action,

and its decision on the Motion to Dismiss will determine whether Plaintiffs may bring their



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Motion for a Preliminary Injunction, the Court begins with the Motion to Intervene, follows

with Defendants’ Motion to Dismiss, and, since the Court finds the Motion to Dismiss is

appropriately denied in part and granted in part, concludes with consideration of the Motion

for Preliminary Injunction.

        A.      Motion to Intervene (Dkt. 30)

        The Proposed Intervenors seek to intervene to advocate for their interests and to

defend the Act, arguing they “face losses to male athletes” and “stand opposed to any

legally sanctioned interference with the opportunities that they have enjoyed as female

competitors, and that would deprive them and other young women of viable avenues of

competitive enjoyment and success within a context that acknowledges and honors them

as females.” Dkt. 30-1, at 4. The Proposed Intervenors request intervention as a matter of

right, or, alternatively, permissive intervention, under Federal Rule of Civil Procedure 24.

Plaintiffs oppose the Motion to Intervene. Dkt. 45; Dkt. 51-1. Defendants are in favor of

intervention and suggest the Proposed Intervenors’ perspectives “can help inform the Court

when it balances hardships and determines the public consequences of the relief Plaintiffs

seek.” Dkt. 44, at 2.

        1. Legal Standard

        Where, as here, an unconditional right to intervene in not conferred by federal

statute,7 Federal Rule of Civil Procedure 24 authorizes intervention as of right or

permissive intervention.


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  While a federal statute does not authorize intervention by the Proposed Intervenors, the United States is
statutorily authorized to intervene in cases of general public importance involving alleged denials of equal


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        Rule 24(a) contains the standards for intervention as of right, and provides that a

court must permit anyone to intervene who, on timely motion: “claims an interest relating

to the property or transaction that is the subject of the action, and is so situated that

disposing of the action may as a practical matter impair or impede the movant’s ability to

protect its interest, unless existing parties adequately represent that interest.” Fed. R. Civ.

P. 24(a)(2).

        The Ninth Circuit has distilled the aforementioned provision into a four-part test for

intervention as of right: (1) the application for intervention must be timely; (2) the applicant

must have a “significantly protectable” interest relating to the property or transaction that

is the subject of the action; (3) the applicant must be so situated that the disposition of the

action may, as a practical matter, impair or impede the applicant’s ability to protect that

interest; and (4) the applicant’s interest must be inadequately represented by existing

parties in the lawsuit. Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 817 (9th Cir.

2001) (“Berg”) (citation omitted).

        The Court must construe Rule 24(a)(2) liberally in favor of intervention. Id. at 818.

In assessing interventions, courts are “guided primarily by practical and equitable

considerations.” Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003) (citing Donnelly

v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998)). However, it is the movant’s burden to

show that it satisfies each of the four criteria for intervention as of right. Prete v. Bradbury,

438 F.3d 949, 954 (9th Cir. 2006)



protection on the basis of sex. 28 U.S.C. § 517; see also United States v. Virginia, 518 U.S. 515, 523 (1996).
The United States filed its Statement of Interest in support of the Act pursuant to 28 U.S.C. § 517. Dkt. 53.


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       In general, Rule 24(b) also gives the court discretion to allow permissive

intervention to anyone who has a claim or defense that shares with the main action a

common question of law or fact. Fed. R. Civ. P. 24(b)(1)(B). In addition, in exercising its

discretion under Rule 24(b), the Court must consider whether intervention will unduly

delay or prejudice the adjudication of the original parties’ rights. Fed. R. Civ. P. 24(b)(3).

       2. Analysis

       a. Intervention as of Right

       Plaintiffs argue intervention as of right should be denied because the Proposed

Intervenors claim interests that are neither cognizable under the law nor potentially

impaired by the disposition of the present lawsuit. Plaintiffs also argue intervention as of

right is unavailable because Defendants adequately represent the Proposed Intervenors’

interests.

       i. Timeliness of Application

       In support of their arguments against permissive intervention, Plaintiffs suggest the

Proposed Intervenors’ participation will likely delay and prejudice the adjudication of

Plaintiffs’ claims. Dkt. 45, at 17. Plaintiffs do not, however, contest the timeliness of the

application to intervene with respect to intervention as of right. To the extent necessary,

the Court will accordingly address the timeliness of the application when assessing

permissive intervention.

       ii. Protectable Interest

       To warrant intervention as of right, a movant must show both “an interest that is




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protected under some law” and “a ‘relationship’ between its legally protected interest and

the plaintiff’s claims.” California ex rel. Lockyer v. United States, 450 F.3d 436, 441 (9th

Cir. 2006) (“Lockyer”) (quoting Donnelly, 159 F.3d at 409). “Whether an applicant for

intervention demonstrates sufficient interest in an action is a practical, threshold inquiry.

No specific legal or equitable interest need be established.” Berg, 268 F.3d at 818 (citing

Greene v. United States, 996 F.2d 973, 976 (9th Cir. 1993)).

       The Proposed Intervenors claim a significant and protected interest in having and

maintaining “female-only competitions and a competitive environment shielded from

physiologically advantaged male participants to whom they stand to lose.” Dkt. 30-1, at 7;

see also Dkt. 52, at 4 n. 1. Plaintiffs characterize this interest as a mere desire to exclude

transgender students from single-sex sports, which is not significantly protectable. Dkt. 45,

at 10–11. As Plaintiffs note, the Ninth Circuit has held cisgender students do not have a

legally protectable interest in excluding transgender students from single-sex spaces.

Parents for Privacy v. Barr, 949 F.3d 1210, 1228 (9th Cir. 2020) (rejecting Title IX and

constitutional claims of cisgender students based on having to share single sex restrooms

and locker facilities with transgender students).

       However, the Ninth Circuit has also held that redressing past discrimination against

women in athletics and promoting equality of athletic opportunity between the sexes is

unquestionably a legitimate and important interest, which is served by precluding males

from playing on teams devoted to female athletes. Clark, ex rel. Clark v. Arizona

Interscholastic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982) (“Clark”). Regardless of how

the Proposed Intervenors’ interest is characterized—either as a right to a level playing field


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or as a more invidious desire to exclude transgender athletes—they do claim a protectable

interest in ensuring equality of athletic opportunity. The importance of this interest is the

basic premise of almost fifty years of Title IX law as it applies to athletics, and, as

recognized by the Ninth Circuit, is unquestionably a legitimate and important interest.

Clark, 695 F.2d at 1131. The Proposed Intervenors argue the only way to protect equality

in sports is through sex segregation without regard to gender identity. Whether this

argument is accurate or constitutional is not dispositive of the issue of whether the

Proposed Intervenors have an interest in this suit.

       Just as Plaintiffs have an interest in seeking equal opportunity for transgender

female student athletes, the Proposed Intervenors have an interest in seeking equal

opportunity for cisgender female student athletes. As such, to find the Proposed Intervenors

are without a protectable interest in the subject matter of this litigation would be to hold

that no party has an interest in this litigation. See, e.g., Johnson v. San Francisco Unified

Sch. Dist., 500 F.2d 349, 353 (9th Cir. 1974) (explaining all students and parents have an

interest in a sound educational system, and that interest is surely no less significant where

it is entangled with the constitutional claims of a racially defined class).

       Further, Defendants acknowledged at oral argument what seems beyond dispute—

Idaho passed the Act to protect cisgender female student athletes like Madi and MK.

Because the Proposed Intervenors are the “intended beneficiaries” of the Act, their interest

is neither “undifferentiated” nor “generalized.” Lockyer, 450 F.3d at 441 (citation omitted);

see also Cty. of Fresno v. Andrus, 622 F.2d 436, 438 (9th Cir. 1980) (finding small farmers

had a protectable interest in action seeking to enjoin a federal statute passed regarding lands


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receiving federally subsidized water where the small farmers were “precisely those

Congress intended to protect” with the statute). If the Act is declared unconstitutional or

substantially narrowed as result of this litigation, Madi and MK may be more likely to have

to choose between competing against transgender athletes or not competing at all. Such an

interest is sufficiently “direct, non-contingent, [and] substantial” to constitute a significant

protectible interest in this action. Lockyer, 450 F.3d at 441 (alteration in original) (quoting

Dilks v. Aloha Airlines, 642 F.2d 1155, 1157 (9th Cir. 1981)).8

        iii. Impairment of Interest

        The “significantly protectable interest” requirement is closely linked with the

requirement that the outcome of the litigation may impair the proposed intervenors’

interests. Lockyer, 450 F.3d at 442 (“Having found that [intervenors] have a significant

protectable interest, we have little difficulty concluding that disposition of this case, may,

as a practical matter, affect [them].”). If a proposed intervenor “‘would be substantially

affected in a practical sense by the determination made in an action, he should, as a general

rule, be entitled to intervene.’” Berg, 268 F.3d at 822 (quoting Fed. R. Civ. P. 24 advisory

committee note to 1966 amendment).

        The relief requested by Plaintiffs may affect the Proposed Intervenors’ interests.

Should Plaintiffs prevail in this lawsuit, the Proposed Intervenors will not have the



8
  Plaintiffs also argue the outcome of this lawsuit will not advance the Proposed Intervenors’ claimed
interests because Madi and MK, as collegiate athletes, will still be required to compete against non-Idaho
teams and athletes who are subject to the rules of the NCAA, which allow participation of women who are
transgender after one year of testosterone suppression. Yet, the fact that a challenged law may only partially
protect an intervenor from harm does not mean that the intervenor does not have an interest in preserving
that partial protection, and Plaintiffs do not cite any authority to the contrary.


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protection of the law they claim is vital to ensure their right to equality in athletics. Further,

they “will have no legal means to challenge [any] injunction” that may be granted by this

Court. Forest Conservation Council v. U.S. Forest Serv., 66 F.3d 1489, 1498 (9th Cir.

1995) (abrogated by further broadening of intervention as of right for claims brought under

the National Environmental Policy Act in Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d

1173 (9th Cir. 2011)); see also Lockyer, 450 F.3d at 443 (finding impairment where

proposed intervenors would have no alternative forum to contest the interpretation of a law

that was “struck down” or had its “sweep substantially narrowed”). Under such

circumstances, the Proposed Intervenors satisfy the impairment requirement for

intervention as of right.

       iv. Adequacy of Representation

       The “most important factor” to determine whether a proposed intervenor is

adequately represented by an existing party to the action is “how the [proposed

intervenor’s] interest compares with the interests of existing parties.” Arakaki, 324 F.3d at

1086 (citations omitted). When an existing party and a proposed intervenor share the same

ultimate objective, a presumption of adequacy of representation applies. Id. There is also

an assumption of adequacy where, as here, the government is acting on behalf of a

constituency that it represents. United States v. City of Los Angeles, 288 F.3d 391, 401 (9th

Cir. 2002). In the absence of a “very compelling showing to the contrary, it will be

presumed that a state adequately represents its citizens when the applicant shares the same

interest.” Arakaki, 324 F.3d at 1086 (internal quotation marks and citation omitted).




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        Despite their individual interests in the instant litigation, even “interpret[ing] the

requirements broadly in favor of intervention,” it is clear that the ultimate objective of both

the Proposed Intervenors and Defendants is to defend the constitutionality of the Act. Perry

v. Proposition 8 Official Proponents, 587 F.3d 947, 955 (9th Cir. 2009) (alteration in

original) (quoting Donnelly, 159 F.3d at 409); see also Prete, 438 F.3d at 958–959 (holding

that a public interest organization seeking intervention to defend a state constitutional

ballot initiative failed to defeat the presumption of adequate representation when the

ultimate objective of both the organization and the defendant government was to uphold

the measure’s validity).9 Given this shared objective, the presumption of adequacy of

representation applies, and the Proposed Intervenors must make “a very compelling

showing” to defeat this presumption. Arakaki, 324 F.3d at 1086.

        The Ninth Circuit has identified three factors for evaluating the adequacy of

representation: (1) whether the interest of an existing party is such that it will undoubtedly

make all of a proposed intervenor’s arguments; (2) whether the existing party is capable

and willing to make such arguments; and (3) whether a proposed intervenor would offer

any necessary elements to the proceeding that existing parties would neglect. Id. “The

prospective intervenor bears the burden of demonstrating that existing parties do not

adequately represent its interests.” Nw. Forest Res. Council v. Glickman, 82 F.3d 825, 838

(9th Cir. 1996). However, this burden is satisfied if a proposed intervenor shows that


9
 In Prete, the Court explained that while “it is unclear whether this ‘assumption’ rises to the level of a
second presumption, or rather is a circumstance that strengthens the first presumption, it is clear that ‘in the
absence of a very compelling showing to the contrary,’ it will be presumed that the Oregon government
adequately represents the interests of the intervenor-defendants.” Id. at 957 (quoting Arakaki, 324 F.3d at
1086).


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representation “may be” inadequate. Trbovich v. United Mine Workers, 404 U.S. 528, 538

n. 10 (1972)).

        The Proposed Intervenors argue that their participation in this lawsuit is necessary

because Defendants include “multiple agencies and voices of the Idaho government that

represent multiple constituencies including constituencies with views and interests more

aligned with Plaintiffs than proposed intervenors.” Dkt. 30-1, at 10. The Proposed

Intervenors also suggest they bring a unique perspective the government cannot adequately

represent because the “personal distress and other negative effects suffered by female

athletes from the inequity of authorized male competition against females is not felt by

institutional administrators.” Id. Neither of these arguments is convincing.

        First, regardless of the “multiple constituencies” represented, or beliefs of individual

constituents voiced before H.B. 500 was passed,10 there is no reason to believe that

Defendants cannot be “counted on to argue vehemently in favor of the constitutionality of

[the Act].” League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1306 (9th Cir.

1997). Defendants’ retention of an expert witness, “proactive filing of a motion to dismiss

and the arguments they have advanced in support of that motion,” and fervent opposition



10
  As Plaintiffs note, although Attorney General Wasden issued an opinion letter explaining that H.B. 500
was likely unconstitutional at the request of a legislator, Attorney General Wasden is statutorily required to
represent the State in all courts, Idaho Code section 67-1401(1), and his Deputy Attorney General
vigorously defended the Act in both briefing on the pending motions and during oral argument. As such,
there is no evidence to suggest that Attorney General Wasden will not fulfill his statutory duties. In addition,
the Proposed Intervenors contend BSU will not adequately represent their interests because BSU has a
Gender Equality Center that advances the interests of transgender students. Dkt. 30-1, at 11–13. However,
as Plaintiffs highlighted during oral argument, BSU could have realigned itself as a party if it felt it could
not support the Act, but instead gave over representation to the State and has accordingly adopted the
positions of the State. Dkt. 62, at 28: 10–15. The Proposed Intervenors’ arguments regarding Attorney
General Wasden and BSU are not a compelling showing of inadequate representation.


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to Plaintiffs’ Motion for a Preliminary Injunction, “suggest precisely the opposite

conclusion.” Animal Legal Defense Fund v. Otter, 300 F.R.D. 461, 465 (D. Idaho 2014).

As even the Proposed Intervenors observe in their proposed opposition to Plaintiffs’

Motion for Preliminary Injunction, the “legal authorities, standards, and arguments” in

opposing Plaintiffs’ motion for a preliminary injunction are “well covered” by Defendants.

Dkt. 46, at 5.

       Likewise, the Proposed Intervenors’ “particular expertise in the subject of the

dispute” as cisgender female athletes who have competed against a transgender woman

athlete does not amount to a compelling showing of inadequate representation by

Defendants. Prete, 438 F.3d at 958–959. To the extent they lack personal experience,

Defendants can “acquire additional specialized knowledge through discovery (e.g., by

calling upon intervenor-defendants to supply evidence) or through the use of experts.” Id.

at 958. Defendants have also already referred to the experiences of both Madi and MK in

opposing Plaintiffs’ Motion for a Preliminary Injunction. Dkt. 41, at 19–20. Thus, the

Proposed Intervenors’ personal experience is insufficient to provide the showing necessary

to overcome the presumption of adequate representation. Prete, 438 F.3d at 959.

       However, the Court cannot find Defendants “will undoubtedly make” all of the

Proposed’ Intervenors’ arguments. Arakaki, 324 F.3d at 1086. Specifically, there are two

limiting constructions that Defendants could, and in fact have, advocated to support

dismissal of Plaintiffs’ suit and/or assuage constitutional doubts clouding the Act: (1) the

Act is not self-executing and requires another individual to invoke the “dispute process”

before any transgender athlete will be precluded from playing on a women’s team; and (2)


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to verify her sex, a transgender female athlete need only submit a form from her health care

provider verifying that she is female. Defendants invoked such limiting constructions in

their briefing on the Motion to Dismiss and reaffirmed them during oral argument. See,

e.g., Dkt. 40-1, at 3, 6–7; Dkt. 59, at 5–6; Dkt. 62, at 44:13–25, 66:21–25. Thus, that the

“the government will offer . . . a limiting construction of [the Act] is not just a theoretical

possibility; it has already done so.” Lockyer, 450 F.3d at 444.

       In contrast to Defendants’ attempt to narrow the Act, the Proposed Intervenors

suggest the Act must be read broadly to categorically preclude transgender women from

ever playing on female sports teams, regardless of whether they become the target of a

dispute or whether they can obtain a sex verification letter from a health care provider.

These are far more than differences in litigation strategy between Defendants and the

Proposed Intervenors. City of Los Angeles, 288 F.3d at 402–403 (“[M]ere differences in

strategy . . . are not enough to justify intervention as of right.”). This conflicting

construction goes to the heart of interpretation and enforcement of the Act.

       The Court therefore concludes that the Proposed Intervenors have “more narrow,

parochial interests” than the Defendants. Lockyer, 450 F.3d at 445 (finding proposed

intervenors overcame the presumption of adequacy of representation where the

government suggested a limiting construction of a law in its motion for summary

judgment); Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 899

(9th Cir. 2011) (holding proposed intervenors overcame presumption of adequate

representation where they sought to secure the broadest possible interpretation of the Forest

Service’s Interim Order, while the Forest Service argued that a much narrower


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interpretation would suffice to comply with the Interim Order). Through the presentation

of direct evidence that Defendants “will take a position that actually compromises (and

potentially eviscerates) the protections of [the Act],” the Proposed Intervenors have

overcome the presumption that Defendants will act in their interests. Lockyer, 450 F.3d at

445.

       Liberally construing Rule 24(a), the Court finds that the Proposed Intervenors have

met the test for intervention as a matter of right. Alternatively, however, the Court finds

permissive intervention is also appropriate.

       b. Permissive Intervention

       The Court’s discretion to grant or deny permissive intervention is broad. Spangler

v. Pasadena City Bd. of Educ., 552 F.2d 1326, 1329 (9th Cir. 1977) (citation omitted). The

Ninth Circuit has “often stated that permissive intervention requires: (1) an independent

ground for jurisdiction; (2) a timely motion; and (3) a common question of law and fact

between the movant’s claim or defense and the main action.” Freedom from Religion

Found., Inc. v. Geithner, 644 F.3d 836, 843 (9th Cir. 2011) (citations omitted). “In

exercising its discretion,” the Court must also “consider whether the intervention will

unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P.

24(b)(3). When a proposed intervenor has otherwise met the requirements, “[t]he court

may also consider other factors in the exercise of its discretion, including the nature and

extent of the intervenors’ interest and whether the intervenors’ interests are adequately

represented by other parties.” Perry, 587 F.3d at 955 (quoting Spangler, 552 F.2d at 1329).




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       Plaintiffs do not dispute that the Proposed Intervenors have an independent ground

for jurisdiction and share a common question of law and fact with the defense of the main

action. Plaintiffs instead argue that permissive intervention should be denied because

existing parties adequately represent the Proposed Intervenors’ interests, and because

intervention would unduly delay or prejudice the adjudication of the rights of the original

parties. Dkt. 45, at 16–19. As explained above, the Proposed Intervenors have shown

Defendants may not adequately represent their interests because Defendants have advanced

a limiting construction of the Act and thus undoubtedly will not make all of the arguments

Madi and MK will make. Arakaki, 324 F.3d at 1086. The Court accordingly rejects

Plaintiffs’ contention that permissive intervention should be denied because Defendants

adequately represent the Proposed Intervenors’ interests.

       Plaintiffs also argue the Proposed Intervenors’ participation will likely delay and

prejudice the adjudication of Plaintiffs’ claims because Madi and MK waited six weeks

after Plaintiffs filed their Complaint to seek intervention. This argument fails because the

Ninth Circuit has held an application to intervene is timely where, as here, it is filed less

than three months after the complaint. See, e.g., Idaho Farm Bureau Fed’n v. Babbitt, 58

F.3d 1392, 1397 (9th Cir. 1995) (finding motion to intervene filed four months after

initiation of a lawsuit to be timely); Citizens for Balanced Use v. Montana Wilderness

Ass’n, 647 F.3d 893, 897 (9th Cir. 2011) (deeming motion to intervene timely when it was

filed “less than three months after the complaint was filed and less than two weeks after

[Defendant] filed its answer to the complaint.”).




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       Plaintiffs next contend they will be prejudiced if they are unable to obtain a ruling

from this Court before the fall sports season begins, and that the any disruption of the

briefing schedule to accommodate the Motion to Intervene could delay resolution of

Plaintiffs’ request for emergency relief. This concern is moot because the Motion to

Intervene was fully briefed prior to oral argument on July 22, 2020, and the Court is issuing

the instant decision on all three pending motions before the fall sports season begins.

       Finally, Plaintiffs argue intervention could prejudice the adjudication of their claims

because counsel for the Proposed Intervenors have a history of utilizing misgendering

tactics that will delay and impair efficient resolution of litigation. For instance, the Motion

to Intervene is replete with references to Lindsay using masculine pronouns and refers to

other transgender women by their former male names. The Court is concerned by this

conduct, as other courts have denounced such misgendering as degrading, mean, and

potentially mentally devastating to transgender individuals. T.B., Jr. ex rel. T.B. v. Prince

George’s Cty. Bd. of Educ., 897 F.3d 566, 577 (4th Cir. 2018) (describing student’s

harassment of transgender female teacher by referring to her with male gender pronouns

as “pure meanness.”); Hampton v. Baldwin, 2018 WL 5830730, at *2 (S.D. Ill. Nov. 7,

2018) (referencing expert testimony that “misgendering transgender people can be

degrading, humiliating, invalidating, and mentally devastating.”).

       Counsel for the Proposed Intervenors responds that they have used such terms not

to be discourteous, but to differentiate between “immutable” categories of sex versus

“experiential” categories of gender identity, and that the terms they use simply reflect

“necessary accuracy.” Dkt. 52, at 8 (quoting Frontiero v. Richardson, 411 U.S. 677, 686


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(1973)). Such “accuracy,” however, is not compromised by simply referring to Lindsay

and other transgender females as “transgender women,” or by adopting Lindsay’s preferred

gender pronouns.11 See, e.g., Edmo v. Corizon, 935 F.3d 757 (9th Cir. 2019) (consistently

referring to transgender female prisoner using her chosen name and female gender

pronouns); Canada v. Hall, 2019 WL 1294660, at *1 n. 1 (N.D. Ill. March 21, 2019)

(“Although immaterial to this ruling, the Court would be derelict if it failed to note the

defendants’ careless disrespect for the plaintiff’s transgender identity, as reflected through

. . . the consistent use of male pronouns to identify the plaintiff. The Court cautions counsel

against maintaining a similar tone in future filings.”); Lynch v. Lewis, 2014 WL 1813725,

at *2 n. 2 (M.D. Ga. May 7, 2014) (“The Court and Defendants will use feminine pronouns

to refer to the Plaintiff in filings with the Court. Such use is not to be taken as a factual or

legal finding. The Court will grant Plaintiff’s request as a matter of courtesy, and because

it is the Court’s practice to refer to litigants in the manner they prefer to be addressed when

possible.”).12

        Ultimately, however, that the Proposed Intervenors’ counsel used gratuitous

language in their briefs is not a reason to deny Madi and MK the opportunity to intervene

to support a law of which they are the intended beneficiaries. Moreover, during oral



11
  The Court does not take issue with identifying Lindsay (or any other transgender women) as a transgender
woman or transgender female, a male-to-female transgender athlete or individual, or as a person whose sex
assigned at birth (male) differs from her gender identity (female). Edmo, 935 F.3d at 772. Each of these
descriptions makes counsel’s point without doing so in an inflammatory and potentially harmful manner.
12
  Personal preferences or beliefs and organizational perceptions or positions notwithstanding, the Court
expects courtesy between all parties in this litigation. In an ever contentious social and political world, the
Courts will remain a haven for fairness, civility, and respect—even in disagreement.


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argument, counsel for the Proposed Intervenors was respectful in advocating for Madi and

MK without needlessly attempting to shame Lindsay or other transgender women. That

counsel did so illustrates there is no need to misgender Lindsay or others in order to “speak

coherently about the goals, justifications, and validity of the Fairness in Women’s Sports

Act.” Dkt. 52, at 8. Counsel should continue this practice in future filings and arguments

before the Court.

       In sum, the Court will allow Madi and MK to intervene as of right, and,

alternatively, finds permissive intervention is also appropriate. The Court will accordingly

collectively refer to Madi and MK hereinafter as the “Intervenors.”

       B.      Motion to Dismiss (Dkt. 40)

       Defendants filed a Motion to Dismiss Plaintiffs’ action, contending Plaintiffs lack

standing, that their claims are not ripe for review, and that their facial challenges fail as a

matter of law.

       1. Legal Standard

       A motion to dismiss based on a lack of Article III standing arises under Federal Rule

of Civil Procedure 12(b)(1). Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011);

Valentin v. Hosp. Bella Vista, 254 F.3d 358, 362–63 (1st Cir. 2001) (applying Rule 12(b)(1)

to a motion to dismiss on grounds of ripeness or mootness). A motion to dismiss for lack

of subject matter jurisdiction under Rule 12(b)(1) may challenge jurisdiction either on the

face of the pleadings or by presenting extrinsic evidence for the court’s consideration. Safer

Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004) (holding a jurisdictional

attack may be facial or factual). “In a facial attack, the challenger asserts that the allegations


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contained in the complaint are insufficient on their face to invoke federal jurisdiction. By

contrast, in a factual attack, the challenger disputes the truth of the allegations that, by

themselves, would otherwise invoke federal jurisdiction.” Id. Where, as here, an attack is

facial, the court confines its inquiry to allegations in the complaint. White v. Lee, 227 F.3d

1214, 1242 (9th Cir. 2000).

       When ruling on a facial jurisdictional attack, courts must “accept as true all material

allegations of the complaint and must construe the complaint in favor of the complaining

party.” De La Cruz v. Tormey, 582 F.2d 45, 62 (9th Cir. 1978) (citing Warth v. Seldin, 422

U.S. 490, 501 (1975)). However, the plaintiff bears the burden of alleging facts that are

legally sufficient to invoke the court’s jurisdiction. Leite v. Crane Co., 749 F.3d 1117, 1121

(9th Cir. 2014).

       Rule 12(b)(6) permits a court to dismiss a case if the plaintiff has “fail[ed] to state

a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A Rule 12(b)(6)

dismissal may be based on either a ‘lack of a cognizable legal theory’ or ‘the absence of

sufficient facts alleged under a cognizable legal theory.’” Johnson v. Riverside Healthcare

Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008) (citation omitted). In deciding whether to

grant a motion to dismiss, the court must accept as true all well-pled factual allegations

made in the pleading under attack. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A court is

not, however, “required to accept as true allegations that are merely conclusory,

unwarranted deductions of fact, or unreasonable inferences.” Sprewell v. Golden State

Warriors, 266 F.3d 979, 988 (9th Cir. 2001). However, a “complaint should not be

dismissed unless it appears beyond doubt that the plaintiff can prove no set of facts in


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support of the claim that would entitle the plaintiff to relief.” Id. (citing Morley v. Walker,

175 F.3d 756, 759 (9th Cir. 1999)).

       Dismissal without leave to amend is inappropriate unless it is beyond doubt that the

complaint could not be saved by amendment. See Harris v. Amgen, Inc., 573 F.3d 728, 737

(9th Cir. 2009) (citations omitted). The Ninth Circuit has held that “in dismissals for failure

to state a claim, a district court should grant leave to amend even if no request to amend

the pleading was made, unless it determines that the pleading could not possibly be cured

by the allegation of other facts.” Cook, Perkiss and Liehe, Inc. v. N. California Collection

Serv., Inc., 911 F.2d 242, 247 (9th Cir. 1990) (citations omitted).

       2. Analysis

       a. Standing

       The “irreducible constitutional minimum” of Article III standing consists of three

elements: (1) the plaintiff must have suffered an injury in fact; (2) that is fairly traceable to

the challenged conduct of the defendant and not the result of the independent action of

some third party not before the court; and (3) that is likely to be redressed by a favorable

judicial decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). To survive a

Rule 12(b)(1) motion at the pleading stage (a facial challenge to subject-matter

jurisdiction), the complaint must clearly allege facts demonstrating each element of

standing. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).




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          Defendants suggest Plaintiffs lack standing because they have failed to allege that

they have suffered an injury in fact.13 Dkt. 40-1, at 6. “To establish injury in fact, a plaintiff

must show that he or she has suffered ‘an invasion of a legally protected interest’ that is

‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’”

Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560). “A plaintiff threatened with

future injury has standing to sue if the threatened injury is ‘certainly impending,’ or there

is a ‘substantial risk that the harm will occur.’” In re Zappos.com, Inc., 888 F.3d 1020,

1024 (9th Cir. 2018) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014)). A plaintiff cannot establish standing by alleging a threat of future harm based on

a chain of speculative contingencies. Nelsen v. King Cty., 895 F.2d 1248, 1252 (9th Cir.

1990).

          Defendants argue Plaintiffs have not alleged an injury in fact because all alleged

harms are conjectural, hypothetical, or based on a chain of speculative contingencies.

Specifically, Defendants suggest that Lindsay’s alleged harm of being subject to exclusion

from participation on a women’s sport teams, and Jane’s alleged harm of being required to

verify her sex, cannot occur unless each Plaintiff first makes a women’s athletic team, and

a third party then disputes either Plaintiffs’ sex according to regulations that the State Board

of Education has not yet promulgated. 14 Dkt. 40-1, at 6. This argument fails with respect

to both Plaintiffs.



13
     Defendants do not challenge the causation and redressability elements of standing.
14
  Defendants also maintain that “because HB 500 has not yet come into effect, all alleged harm is future
harm—and Plaintiffs have not shown that the alleged injuries are certainly impending, or that there is


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        i. Lindsay

       The Act categorically bars Lindsay from participating on BSU’s women’s cross-

country and track teams. Idaho Code § 33-6203(2) (“Athletic teams or sports designated

for females, women, or girls shall not be open to students of the male sex.”) (emphasis

added). Although Defendants contend Lindsay will not be harmed unless she first makes

the BSU team and someone then seeks to exclude her through a sex verification challenge,

the Act prevents BSU from allowing Lindsay to try out for the women’s team at all.

       The Act also subjects BSU to a risk of civil suit by any student “who is deprived of

an athletic opportunity or suffers any direct or indirect harm,” if BSU allows a transgender

woman to participate on its athletic teams. Idaho Code § 33-6205(1). A student who

prevails on a claim brought pursuant to this section “shall be entitled to monetary damages,

including for any psychological, emotional, and physical harm suffered, reasonable

attorney’s fees and costs, and any other appropriate relief.” Id. at 6205(4). Defendants’

claim that the Act’s categorical bar against Lindsay’s participation on BSU’s women’s

teams is not “self-executing” because it “has no independent enforcement mechanism,” is

meritless in light of the risk of significant civil liability the Act imposes on any school that

allows a transgender woman to participate in women’s sports. Dkt. 59, at 5.

       The harm Lindsay alleges—the inability to participate on women’s teams—arose

when the Act went into effect on July 1, 2020. That Lindsay has not yet tried out for BSU

athletics or been subject to a dispute process is irrelevant because the Act bars her from



substantial risk of harm occurring.” Dkt. 40-1, at 6. Since the Act went into effect July 1, 2020, this
argument is moot.


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trying out in the first place. The Supreme Court has long held that the “injury in fact”

required for standing in equal protection cases is denial of equal treatment resulting from

the imposition of a barrier, not the ultimate inability to obtain the benefit. Ne. Florida

Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 664

(1993) (“When the government erects a barrier that makes it more difficult for members of

one group to obtain a benefit than it is for members of another group, a member of the

former group seeking to challenge the barrier need not allege that he would have obtained

the benefit but for the barrier in order to establish standing”); Clements v. Fashing, 457

U.S. 957, 962 (1982) (finding political officers had standing to challenge provision of

Texas Constitution requiring automatic resignation for some officeholders upon their

announcement of candidacy for another office because injury was the “obstacle to [their]

candidacy” for a new office, not the fact that they would have been elected to a new office

but for the law’s prohibition); Regents of Univ. of California v. Bakke, 438 U.S. 265, 281

n. 14 (1978) (holding twice-rejected white male applicant had standing to challenge

medical school’s admissions program which reserved 16 of 100 places in the entering class

for minority applicants, because the requisite “injury” was plaintiff’s inability to compete

for all 100 places in the class, simply because of his race, not that he would have been

admitted in the absence of the special program). Lindsay has adequately alleged an injury

because she cannot compete for a position on BSU’s women’s cross-country and track

teams in the first place, regardless of whether or not she would ultimately make such




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teams.15

         In addition, even if BSU risked civil liability and allowed Lindsay to try out for, or

join, a women’s team, it is not speculative to suggest Lindsay’s sex would be disputed.

Lindsay is a nineteen-year-old transgender woman who has bravely become the public face

of this litigation, and, in doing so, has captured the attention of local and national news.

See, e.g., James Dawson, Idaho Transgender Athlete Law To Be Challenged in Federal

Court,        https://www.boisestatepublicradio.org/post/idaho-transgender-athlete-law-be-

challenged-federal-court#stream/0 (Apr. 15, 2020); Julie Kliegman, SPORTS ILLUSTRATED,

Idaho Banned Trans Athletes from Women’s Sports. She’s Fighting Back,

https://www.si.com/sports-illustrated/2020/06/30/idaho-transgender-ban-fighting-back

(June 30, 2020); Roman Stubbs, THE WASHINGTON POST, As transgender rights debate

15
   Citing Braunstein v. Arizona Dep’t of Transp., 683 F.3d 1177, 1185 (9th Cir. 2012), Defendants argue
that even where the government discriminates on the basis of a protected category, only those who are
“personally denied equal treatment have a cognizable injury under Article III.” Dkt. 59, at 3. In Braunstein,
the Ninth Circuit considered a white male engineer’s lawsuit alleging the Arizona Department of
Transportation violated his right to equal protection by giving general contractors a financial incentive to
hire minority-owned subcontractors. Braunstein, 683 F.3d at 1184. Braunstein alleged that these
preferences prevented him, as a non-minority business owner, from competing for subcontracting work on
an equal basis. Id. at 1185. However, Braunstein did not submit a quote or attempt to secure subcontract
work from any of the prime contractors who bid on the government contract. Id. at 1185. The Ninth Circuit
held that because Braunstein’s surviving claim was for damages, rather than for declaratory and injunctive
relief, Braunstein had to show more than that he was “able and ready” to seek subcontracting work. Id. at
1186. The Court determined Braunstein had not established an injury for purposes of his claim for damages
because Braunstein had “done essentially nothing to demonstrate that he [was] in a position to compete
equally with the other contractors.” Id. By contrast, Lindsay seeks declaratory and injunctive relief, and has
demonstrated she is “able and ready” to join the BSU cross-country and track teams. Id. at 1186 (citing
Gratz v. Bollinger, 539 U.S. 244, 261–62 (2003) (holding plaintiff had standing to challenge university’s
race-conscious transfer admissions policy, even though he never applied as a transfer student, because he
demonstrated that he was “able and ready to do so.”) Lindsay has adequately alleged that she is ready and
able to join BSU’s women’s cross-country and women’s track teams and also that she is in a position to
compete with other students who try out for BSU’s women’s track and cross-country teams. Specifically,
Lindsay alleges she has been training hard to qualify for such teams, that she is a life-long runner who
competed on track and cross-country teams in high school, and that she will try out for the cross-country
team in fall 2020 and track team in spring 2020 if BSU allows her to do so. Dkt. 1, at ¶¶ 6, 25, 33. Such
allegations are sufficient to establish standing for Lindsay’s claims. Braunstein, 683 F.3d at 1185–86.


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spills into sports, one runner finds herself at the center of a pivotal case

https://www.washingtonpost.com/sports/2020/07/27/idaho-transgender-sports-lawsuit-

hecox-v-little-hb-500/ (July 27, 2020).16

        In addition to such headlines, prominent athletes, including Billie Jean King and

Megan Rapinoe, have, due to the Act, called for the NCAA to move men’s basketball

tournament games scheduled to be played in Idaho next March to another state. Id. On the

other side of the coin, advocates in favor of the Act, including 300 high-profile female

athletes, signed a letter asking the NCAA not to boycott Idaho over passing the Act. Ellie

Reynolds, THE FEDERALIST, More Than 300 Female Athletes, Olympians Urge NCAA to

Protect Women’s Sports, https://thefederalist.com/2020/07/30/more-than-300-female-

athletes-olympians-urge-ncaa-to-protect-womens-sports/ (July 30, 2020). In light of the

extensive attention this case has already received, and widespread knowledge that Lindsay

is transgender, it is untenable to suggest she would not be subject to a sex dispute if BSU

allowed her the opportunity to try out for, or join, a women’s team.17

        Defendants also argue Lindsay lacks standing because she has not alleged facts to



16
   The Court takes judicial notice of such articles because they are matters in the public realm. “When a
court takes judicial notice of publications like websites and newspaper article, the court merely notices what
was in the public realm at the time, not whether the contents of those articles were in fact true.” Prime
Healthcare Services, Inc. v. Humana Ins. Co., 230 F. Supp. 3d 1194, 1201 (citing Heliotrope Gen. Inc. v.
Ford Motor Co., 189 F.3d 971, 981 n. 118 (9th Cir. 1999)). The Court references such articles solely to
illustrate that this case has received local and national attention, and not for the truth of the contents of the
articles. Id.
17
   As mentioned, BSU cannot allow Lindsay this opportunity under section 33-6203(2) of the Act. Given
BSU’s awareness that Lindsay is a transgender woman, the Act directs that BSU “shall not” permit her to
join the women’s team, regardless of whether a third-party challenges Lindsay’s sex. Idaho Code § 33-
6203(2).



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show she could compete under the current NCAA rules, such as dates showing she has

undergone hormone treatment for one calendar year prior to participation on women’s

sports teams. However, Lindsay alleged in the Complaint that she is being treated with

both testosterone suppression and estrogen, and that she is eligible to compete in women’s

sports in fall 2020 under existing NCAA rules for inclusion of transgender athletes. Dkt.

1, at ¶¶ 29, 32. Because the Court must accept such allegations as true and construe them

in Lindsay’s favor, Lindsay has adequately alleged she is eligible to participate on women’s

teams under the NCAA’s regulations despite the Complaint’s omission of the exact dates

of her treatment. De la Cruz, 582 F.2d at 62.

        Nonetheless, Defendants claim Lindsay has not adequately alleged she is otherwise

eligible to play on women’s teams because the U.S. Department of Education Office of

Civil Rights (“OCR”) recently issued a Letter of Impending Enforcement Action (“OCR

Letter”) opining that allowing transgender high school athletes in Connecticut to participate

in women’s sports violated the rights of female athletes under Title IX.18 Dkt. 40-1, at 7 n.

1, 10 n. 2. However, the OCR Letter itself states that “it is not a formal statement of OCR

policy and should not be relied upon, cited, or construed as such.” Dkt. 41, at 68. Because

it is expressly not the OCR’s formal policy and may not be cited or construed as such, the


18
  The OCR Letter was filed by the OCR in Connecticut court cases involving claims by three high school
student-athletes and their parents due to the Connecticut Interscholastic Athletic Conference’s policy of
permitting transgender women to compete on women’s teams. Dkt. 41, at 25. Although the parties do not
raise the issue, the Court takes judicial notice of the OCR Letter, filed by Defendants in support of their
Opposition to the Motion for Preliminary Injunction, and cited by Defendants in their Motion to Dismiss,
because the Court may take judicial notice of “proceedings in other courts, both within and without the
federal judicial system, if those proceedings have a direct relation to the matters at issue.” United States ex
rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992).



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OCR Letter does not render Lindsay ineligible from participating on women’s teams. In

addition, the OCR Letter is also of questionable validity given the Supreme Court’s recent

holding in Bostock v. Clayton Cty., Georgia, 140 S. Ct. 1731, 1741 (2020) (clarifying that

the prohibition on discrimination because of sex in Title VII includes discrimination based

on an individual’s transgender status); see also Emeldi v. Univ. of Oregon, 698 F.3d 715,

724 (9th Cir. 2012) (interpreting Title IX provisions in accordance with Title VII). The

Court accordingly rejects Defendants’ claim that Lindsay may not otherwise be eligible to

play women’s sports due to the OCR Letter.

       Defendants also imply Lindsay cannot establish an injury in fact because the State

Board of Education has not yet promulgated regulations governing third-party sex

verification disputes. Dkt. 40-1, at 3, 6. Regardless of how they are written, any future

regulations cannot alter the Act’s categorical bar against transgender women participating

on women’s teams. Under the Act, women’s teams “shall not be open to students of the

male sex.” Id. at § 33-6203(2). Future regulations could not alter this mandate without

eliminating a key component of the Act by overriding specific language of the statute.

       In essence, Defendants’ argument regarding Lindsay’s standing is essentially a

claim that Lindsay has not suffered any injury because there is no guarantee the Act will

be enforced. Defendants have not identified any “principal of standing,” or “any case that

stands for the proposition that [the Court] should deny standing on the assumption that the

regulated entity under the statute will simply violate the law and not do what the law says.”

Dkt. 62, at 52:5–9. In fact, the Supreme Court rejected a similar argument by the State of

Georgia in Turner v. Fouche, 396 U.S. 346, 361 (1970). In Turner, the Supreme Court held


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a non-property owner had standing to raise an, equal protection claim against a state law

requiring members of the board of education to be property owners. The Court addressed

Georgia’s contention that the non-property owner lacked standing to challenge the law in

the absence of evidence that the law had been enforced, noting: “Georgia also argues the

question is not properly before us because the record is devoid of evidence that [the

property ownership requirement] has operated to exclude any [non-property owners] from

the Taliaferro County board of education.” Id. at 361 n. 23. The Turner Court neatly

rejected this contention, stating, “Georgia can hardly urge that her county officials may be

depended on to ignore a provision of state law.” Id. Moreover, given the civil liability and

significant damages any regulated entity in Idaho now faces if they allow a transgender

woman to participate on woman’s sport teams, the Act’s enforcement is essentially

guaranteed. Idaho Code § 33-6205.

       In addition to the injury of being barred from playing women’s sports, Lindsay also

claims an injury of being forced to turn over private medical information to the government

if her sex was challenged. Dkt. 1, at ¶¶ 157, 168. Defendants argue this injury is “not based

in [the Act’s] text, which requires a ‘health examination and consent form or other

statement signed by the student’s personal health provider’ when there is a dispute, and

does not require that the health care provider expound further or disclose any underlying

health information.” Dkt. 40-1, at 8. However, if BSU violates the Act by allowing Lindsay

to participate in women’s sports and another student challenges Lindsay’s sex, the Act also

provides a health care provider can verify Lindsay’s sex relying only on one or more of the

following: her reproductive anatomy, genetic makeup, or normal endogenously produced


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testosterone levels. Idaho Code § 33-6203(3). Evaluating any of these criteria would

require invasive examination and/or testing and would also necessarily reveal extremely

personal health information such as Lindsay’s precise genetic makeup. Moreover, it would

be impossible for Lindsay to demonstrate a “biological sex” permitting participation on a

women’s team based on any of these three criteria. Dkt. 55, at 7–8.

       Defendants counter that Plaintiffs’ concerns are overblown and that the verification

process is not an invasive as Plaintiffs make it out to be. They suggest a health care provider

may verify a student’s “biological sex” based on something other than the three expressly

listed criteria due to the “health examination and consent form or other statement

provision” language outlined in the Act. Dkt. 40-1, at 3 (claiming that the Act does not

require the health care provider “to use the three specified factors in providing an ‘other

statement’ verifying ‘the students biological sex.’”) During oral argument, defense counsel

confirmed that Lindsay can play on female sport’s teams if her health care provider simply

signs an “other statement” stating that Lindsay is female. Dkt. 62, at 66:21-25; 67:4–9.

       It is “a cardinal principle of statutory construction” that “a statute ought, upon the

whole, to be so construed that, if it can be prevented, no clause, sentence, or word shall be

superfluous, void, or insignificant.” Duncan v. Walker, 533 U.S. 167, 174 (2001) (internal

quotation marks and citations omitted); United States v. Menasche, 348 U.S. 528, 538–539

(1955) (“It is our duty to give effect, if possible, to every clause and word of a statute.”

(internal quotation marks omitted); Beck v. Prupis, 529 U.S. 494, 506 (2000) (it is a

“longstanding canon of statutory construction that terms in a statute should not be

construed so as to render any provision of that statute meaningless or superfluous.”)


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        If the Court were to adopt Defendants’ aforementioned construction of the statute,

the entire legislative findings and purpose section of the Act would be rendered

meaningless. Idaho Code § 33-6202 (explaining inherent physiological differences put

males at an advantage in sports, requiring sex-specific women’s teams to promote sex

equality). So too would the Act’s mandate that athletic teams or sports designated for

females, women, or girls “shall not be open to students of the male sex.” Id. at § 33-6203(2).

Defendants’ contention that Lindsay would not be subject to the invasive and potentially

cost-prohibitive medical examination codified in Idaho Code section 33-6203(3) because

her health care provider could simply verify that she is female is impossible to reconcile

with the rest of the Act’s provisions.19 As such, Lindsay has also alleged a non-speculative

risk of suffering an invasion of privacy if BSU violated the law and allowed her to try out

for the women’s cross-country or track team.

        ii. Jane

        Jane has also alleged an injury in fact because, by virtue of the Act’s passage, she is

now subject to disparate, and less favorable, treatment based on sex. As a female student

athlete, Jane risks being subject to the “dispute process,” a potentially invasive and

expensive medical exam, loss of privacy, and the embarrassment of having her sex

challenged, while male student athletes who play on male teams do not face such risks. The

Supreme Court has long recognized that unequal treatment because of gender like that



19
  During oral argument, Plaintiffs’ counsel stated that they would be happy to consider entering into a
consent decree if Defendants were willing to agree that this interpretation of the statute was authoritative
and binding in Idaho. Dkt. 62, at 70:16–21. Defendants did not respond to this suggestion, and the parties
have not notified the Court of any subsequent talks regarding a potential consent decree.


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codified by the Act “is an injury in fact” sufficient to convey standing. Heckler v. Mathews,

465 U.S. 728, 738 (1984) (finding plaintiff claimed a judicially cognizable injury where a

statute subjected him to unequal treatment solely because of his gender); Davis v. Guam,

785 F.3d 1311, 1315 (9th Cir. 2015) (“[Plaintiff’s] allegation—that Guam law provides a

benefit to a class of persons that it denies him—is ‘a type of personal injury [the Supreme

Court] has long recognized as judicially cognizable.’”) (quoting Heckler, 465 U.S. at 738).

       The male appellee in Heckler challenged a provision of the Social Security Act that

required certain male workers (but not female workers) to make a showing of dependency

as a condition for receiving full spousal benefits. Heckler, 465 U.S. at 731–35. However,

the statute also “prevent[ed] a court from redressing this inequality by increasing the

benefits payable to” male workers. Id. at 739. Thus, the lawsuit couldn’t have resulted in

any tangible benefit to plaintiff. The Supreme Court nevertheless held that appellee’s

claimed injury of being subject to unequal treatment solely because of his gender was “a

type of personal injury we have long recognized as judicially cognizable.” Id. at 738. The

Heckler Court explained plaintiff had standing to challenge the provision because he

sought to vindicate the “right to equal treatment,” which isn’t necessarily “coextensive with

any substantive rights to the benefits denied the party discriminated against.” Id. at 739. In

Davis, the Ninth Circuit read Heckler “as holding that equal treatment under law is a

judicially cognizable inquiry that satisfies the case or controversy requirement of Article

III, even if it brings no tangible benefit to the party asserting it.” Davis, 785 F.3d at 1315.

       As a cisgender girl who plays on the Boise High soccer team and who will run track

on the girl’s team in the spring, Jane is subject to worse and differential treatment than are


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similarly situated male students who play for boy’s teams in Idaho.20 Jane has suffered an

injury because she is subject to disparate rules for participation on girls’ teams, while boys

can play on boys’ teams without such rules. Id. (holding Guam’s alleged denial of equal

treatment on the basis of race through voter registration law was a judicially cognizable

injury); see also Melendres v. Arpaio, 695 F.3d 990, 998 (9th Cir. 2012) (holding that

Latino plaintiffs had standing to challenge policy targeting Latinos in connection with

traffic stops based on their “[e]xposure to this policy while going about [their] daily

li[ves],” even though “the likelihood of a future stop of a particular individual plaintiff may

not be ‘high’”) (citation omitted).21 That Jane has not had her sex challenged does not

change the fact that she is subject to different, and less favorable, rules for participation on

girls’ teams that similarly situated boys are not.

        In addition to being subject to disparate treatment on the basis of her sex, Jane

reasonably fears that her sex will be disputed and that she will suffer the further injury of

having to undergo the sex verification process. Dkt. 1, ¶¶ 46–50. In Krottner v. Starbucks



20
   The Court uses the specific terms “girl” and “girl’s teams” for Jane, and “transgender woman” and
“woman’s teams” for Lindsay, due to their respective ages and year in school. The terms are generally
interchangeable, however, since the Act applies to nearly all girls and women student athletes in Idaho.
Idaho Code § 33-6203(1).
21
   Defendants suggest Melendres is inapposite because each of the plaintiffs in Melendres had been
subjected to targeted traffic stops, and because plaintiffs presented evidence that the defendants had an
ongoing policy of targeting Latinos. Dkt. 59, at 2–3 n. 1. Defendants argue this case is distinguishable
because no one has challenged either Plaintiff’s sex, and because Defendants have no policy or practice to
mount such challenges in the future. Id. This argument ignores that regulated entities, such as BSU and
Boise High, are statutorily required to ensure that transgender women or girls do not play on female sports’
teams, are also responsible for resolving sex disputes, and risk significant civil liability if they fail to comply
with the statute. Idaho Code §§ 33-6203(3), 6205. The requirements the statute itself places on regulated
entities is evidence that the policy will be enforced.



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Corp., 628 F.3d 1139 (9th Cir. 2010), the Ninth Circuit addressed the Article III standing

of victims of data theft where a thief stole a laptop containing “the unencrypted names,

addresses, and social security numbers of approximately 97,000 Starbucks employees.” Id.

at 1140. Some employees sued, and the only harm that most alleged was an “increased risk

of future identity theft.” Id. at 1142. There was no evidence that the thief had actually used

plaintiffs’ specific identities. The Ninth Circuit determined this was sufficient for Article

III standing, holding that the plaintiffs had “alleged a credible threat of real and immediate

harm” because the laptop and their personal information had been stolen. Id. at 1143.

       Jane also alleges a credible threat of being forced to undergo a sex verification

process. Jane has identified why she is more likely than other female athletes to be

subjected to the dispute process. Specifically, Jane “worries that one of her competitors

may decide to ‘dispute’ her sex” because she “does not commonly wear skirts or dresses,”

“most of her closest friends are boys,” she has “an athletic build,” and because “people

sometimes think of her as masculine.” Dkt. 1, at ¶¶ 46–47. Further, even in the absence of

Jane’s specific characteristics, her general fear of being subjected to the dispute is credible

because the Act currently provides that essentially anyone can challenge another female

athlete’s sex and protects any challenger from adverse action regardless of whether the

dispute is brought in good faith or simply to bully or harass. Although, as Defendants note,

the State Board of Education may promulgate regulations that narrow the Act’s dispute

process, Jane risks being subject to the currently unlimited process as soon as she tries out

for Boise High’s soccer team on or around August 17, 2020.




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        Under the Act’s dispute process, Jane may have to verify that she is female in order

to play girls’ sports, and, given the clear meaning of the statute, such verification must be

based on her reproductive anatomy, genetic makeup, or normal endogenously produced

testosterone levels. Idaho Code § 33-6203(3). As discussed above, Defendants’ claim that

Jane can simply provide a health examination and consent form from her sports physical,

or “other statement” from her personal health care provider, appears impossible to

reconcile with the clear language of the Act. Dkt. 40-1, at 7. Jane’s risk of being forced to

undergo an invasion of privacy simply to play sports represents an “injury in fact”

sufficient to confer standing. Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289,

298 (1979) (“A plaintiff who challenges a statute must demonstrate a realistic danger of

sustaining a direct injury as a result of the statute’s operation or enforcement. But one does

not have to await the consummation of threatened injury to obtain preventive relief.”)

(internal quotation marks, alterations, and citations omitted).

        Because it finds both Lindsay and Jane have alleged an injury in fact, the Court turns

to Defendants’ ripeness argument.

        b. Ripeness22

        Defendants also seek dismissal because this case is purportedly unripe. Ripeness is

a question of timing. Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138

(9th Cir. 2000). It is a doctrine “designed to prevent the courts, through avoidance of



22
   Standing and ripeness are closely related. Colwell v. Dep’t of Health and Human Services, 558 F.3d
1112, 1123 (9th Cir. 2009). “But whereas standing is primarily concerned with who is a proper party to
litigate a particular matter, ripeness addresses when that litigation may occur.” (emphasis in original)
(internal quotation marks and citations omitted).


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premature adjudication, from entangling themselves in abstract disagreements.” Id.

(internal quotation marks and citation omitted).

       The “ripeness inquiry contains both a constitutional and prudential component.”

Portman v. Cty. of Santa Clara, 995 F.2d 898, 902 (9th Cir. 1993). As Defendants

acknowledge, the constitutional component of the ripeness injury is generally coextensive

with the injury element of standing analysis. Dkt. 40-1, at 9; California Pro-Life Council,

Inc. v. Getman, 328 F.3d 1088, 1094 n. 2 (9th Cir. 2003) (noting, “the constitutional

component of ripeness is synonymous with the injury-in-fact prong of the standing

inquiry”); see also Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 81

(1978) (finding that an “injury in fact” satisfies the constitutional ripeness inquiry).

Defendants’ constitutional ripeness arguments fail for the same reasons that their standing

arguments fail.

       The prudential component of ripeness “focuses on whether there is an adequate

record upon which to base effective review.” Portman, 995 F.2d at 903. In evaluating

prudential ripeness, the Court must consider “the fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration.” Thomas, 220 F.3d at

1141. Ultimately, prudential considerations of ripeness are discretionary. Id. at 1142.

       i. Fitness for Judicial Review

       The Supreme Court and Ninth Circuit have recognized the difficulty of deciding

constitutional questions without the necessary factual context. See, e.g., W.E.B. DuBois

Clubs of Am. v. Clark, 389 U.S. 309, 313 (1967); Thomas, 220 F.3d at 1141. In Thomas,

several landlords challenged an Alaska statute that banned discrimination on the basis of


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marital status, arguing the statute violated their First Amendment rights. 220 F.3d at 1137.

For instance, the landlords claimed, inter alia, that the City’s prohibition on any advertising

referencing a marital status preference violated their right to free speech. The Ninth Circuit

found the free speech claim was not ripe because no “concrete factual scenario”

demonstrated how the law, as applied, infringed the landlords’ constitutional rights. Id. at

1141. Specifically, the landlords had never advertised or published a reference to marital

status preference in the past in connection with their rental real estate activities, nor had

expressed any intent of doing so in the future. Id. at 1140 n. 5. On this record, the Ninth

Circuit held the alleged free speech violation did not rise to the level of a justiciable

controversy. Id.

       Here, unlike in Thomas, Plaintiffs’ claims are concrete and Plaintiffs clearly

delineate how the Act harms them in their specific circumstances. Specifically, Jane is a

life-long student athlete who will try out for Boise High School’s girls’ soccer team in

August 2020. Because of various identified traits that have led others to classify her as

masculine, Jane reasonably fears she may be subject to a sex dispute challenge. That a

specific individual has not threatened such challenge is immaterial because the Act has

never been in effect during a school sport’s season and the sex dispute challenge has thus

never before been available, and, by virtue of being a female student athlete, Jane risks

being subject to a sex dispute challenge as soon as she tries out for Boise High’s girls’

soccer team. Lindsay is also a life-long athlete who has alleged a desire and intent to try

out for BSU’s women’s cross-country team this fall. If BSU permitted her to try out,

Lindsay would meet the rules under the NCAA, and the rules in Idaho prior to the Act’s


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passage, to participate by the time BSU will have its first NCAA meet. However, Lindsay

is now categorically barred from trying out for the cross-country team under the Act.

        Defendants have not addressed such as-applied challenges and have not identified

any factual questions that preclude consideration of such challenges at this juncture.23

        Further, legal questions that require little factual development are more likely to be

ripe. Thomas v. Union Carbide Agric. Products Co., 473 U.S. 568, 581 (1985). The issues

Lindsay and Jane raise are primarily legal: whether the Act violates the Constitution and

Title IX in light of its categorical exclusion of transgender women and girls from school

sports and its sex-verification scheme for all female student athletes. As such, the Act’s

legality involves a “pure question of law” and Plaintiffs claims are fit for judicial review

now. Freedom to Travel Campaign v. Newcomb, 82 F.3d 1431, 1435 (9th Cir. 1996)

(finding claims were ripe and issue was purely legal where organization which arranged

trips to Cuba challenged regulation restraining right to travel to Cuba, even though

organization had not applied for, and had not been denied, the specific license required

under regulation).

        ii. Hardship to the Parties should the Court Withhold Consideration

        When a plaintiff challenges a statute or regulation, hardship is more likely if the



23
   Although Defendants again highlight that the Department of Education has not yet established the rules
and regulations applicable to the sex verification process, Defendants do not articulate how the forthcoming
rules and regulations could possibly change the Act’s core prohibitions and requirements; could allow
transgender women athletes to participate on women’s teams; could exempt a girl or woman whose sex is
disputed from the verification process; or could add to the narrow list of criteria that can be used to verify
a girl’s or woman’s biological sex. Defendants are simply mistaken that impending regulations could
possibly alleviate Plaintiffs’ concerns, or that such rules must be established before Lindsay can be excluded
from women’s sports and before Jane can be subjected to a sex verification challenge.


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statute has a direct effect on the plaintiff’s daily life. Texas v. United States, 523 U.S.296,

301 (1998). Hardship is less likely if the statute’s effect is abstract. Id. at 302 (rejecting

argument that ongoing “threat to federalism” could constitute hardship).

        Here, the Court is satisfied that the Plaintiffs stand to suffer a hardship should the

Court withhold its decision. If the Court declines jurisdiction over this dispute, Lindsay

will be categorically barred from participating on BSU’s women’s teams this fall and will

also lose at least a season of NCAA eligibility, which she can never get back. Dkt. 1, at ¶

34. Similarly, as soon as she tries out for fall soccer, Jane is subject to disparate rules and

risks facing a sex verification challenge. If the Court withholds its decision, both Plaintiffs

risk being forced to endure a humiliating dispute process and/or invasive medical

examination simply to play sports.24 Given the reasonable threat that the Act will be

enforced within days of this decision, as well as the hardship such enforcement will impose

on Lindsay and Jane, the Court exercises its discretion to accept jurisdiction over this

dispute.

        c. Facial Challenge25



24
   Lindsay will not have even this choice unless BSU violates the Act, exposing itself to civil suit, and
allows her to join the women’s team.
25
   “Facial and as-applied challenges do not enjoy a neat demarcation, but conventional wisdom defines
facial challenges as ‘ones seeking to have a statute declared unconstitutional in all possible applications,’
while as-applied challenges are ‘treated as the residual, although ostensibly preferred and larger, category.’”
Standing--Facial Versus As Applied Challenges--City of Los Angeles v. Patel, 129 HARV. L. REV. 241, 246
(2015)(“Facial Versus As Applied Challenges”) (quoting Richard H. Fallon, Jr., Fact and Fiction About
Facial Challenges, 99 CAL. L. REV. 915, 923 (2011)). However, as many scholars note, the distinction, if
any, between a facial and an as-applied challenge is difficult to explain because there is a disconnect
between what the Supreme Court has outlined and what happens in actual practice. Facial Versus As
Applied Challenges, 129 HARV. L. REV. at 247; see also Gillian E. Metzger, Facial Challenges and
Federalism, 105 COLUM. L. REV. 873, 882 (2005).


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       Finally, Defendants argue Plaintiffs’ facial challenges fail as a matter of law because

the Act’s provisions can be constitutionally applied. Facial challenges are “disfavored”

because they: (1) “raise the risk of premature interpretation of statutes on factually

barebone records;” (2) run contrary “to the fundamental principle of judicial restraint”; and

(3) “threaten to short circuit the democratic process by preventing laws embodying the will

of the people from being implemented in a manner consistent with the Constitution.”

Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 451 (2008)

(internal quotation marks and citations omitted). As such, the Supreme Court has held, a

“facial challenge to a legislative Act is, of course, the most difficult challenge to mount

successfully, since the challenger must establish that no set of circumstances exists under

which the Act would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987)

(emphasis added). As previously discussed, the Ninth Circuit has held that an Arizona

policy of excluding boys from playing on girls’ sports teams was constitutionally

permissible. Clark, 659 F.2d at 1131. Thus, Defendants argue the Act can clearly be

constitutionally applied to cisgender boys, and Plaintiffs’ facial challenges fail.

       Plaintiffs counter that the Salerno language does not represent the Supreme Court’s

standard for adjudicating facial challenges. Dkt. 55, at 17 (citing City of Chicago v.

Morales, 527 U.S. 41, 51–52, 55 n. 22 (1999) (plurality) (finding an ordinance was facially

invalid even though it also had constitutional applications and observing that, “[t]o the

extent we have consistently articulated a clear standard for facial challenges, it is not the

Salerno formulation, which has never been the decisive factor in any decision of this Court,

including Salerno itself.”). As Plaintiffs point out, Salerno’s “no set of circumstances” test


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was called into question by the Supreme Court in Morales and has been the subject of

considerable debate. Morales, 527 U.S. at 55 n. 22; see also Janklow v. Planned

Parenthood, Sioux Falls Clinic, 517 U.S. 1174, 1175 (1996) (stating that the “dicta in

Salerno does not accurately characterize the standard for deciding facial challenges[.]”);

Washington State Grange, 552 U.S. at 449 (noting that some Members of the Supreme

Court have criticized the Salerno formulation); Almerico v. Denney, 378 F. Supp. 3d 920,

924–926 (D. Idaho 2019) (outlining debate regarding viability of Salerno’s “no set of

circumstances” test); Does 1-134 v. Wasden, 2018 WL 2275220, at *4 (D. Idaho May 17,

2018) (noting the ongoing debate regarding Salerno and “what types of constitutional

claims would warrant a facial challenge, when a facial challenge becomes ripe, and the

level of scrutiny that should be applied to the challenged statute”).

        Notwithstanding such controversy, the Ninth Circuit has consistently held that

Salerno is the appropriate test for most facial challenges.26 S.D. Myers, Inc. v. City & Cty.

of San Francisco, 253 F.3d 461, 467 (9th Cir. 2001) (explaining that the Ninth Circuit will

not reject Salerno in contexts other than the First Amendment or abortion “until the

majority of the Supreme Court clearly directs us to do so.”); Almerico, 378 F. Supp. 3d at

925 (“Time and again, plaintiffs have attempted to escape the effect of the Salerno

standard, only to see their path foreclosed by the Ninth Circuit.”). The Supreme Court also

continues to apply Salerno to most facial challenges, albeit with some limited exceptions.


26
  Exceptions to Salerno’s “no set of circumstances” test have been developed but are not applicable here.
For instance, Salerno does not apply to certain facial challenges to statutes under the First Amendment.
Planned Parenthood of S. Arizona v. Lawall, 180 F.3d 1022, 1026 (9th Cir. 1999). The Supreme Court also
held Salerno’s “no set of circumstances” test does not apply to “undue burden” challenges to statutes
regulating abortion in Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 895 (1992).


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See, e.g., Washington State Grange, 552 U.S. at 449 (holding a plaintiff can succeed on a

facial challenge only by establishing that no set of circumstances exists under which the

law could be valid).

        However, Plaintiffs suggest an exception to the Salerno test, recently applied by the

Supreme Court in City of Los Angeles v. Patel, 576 U.S. 409, 418 (2015), is applicable. In

Patel, the Supreme Court cited Salerno with approval, but also explained that when

assessing whether a statute meets the “no set of circumstances” standard, the Supreme

Court “has considered only applications of the statute in which it actually authorizes or

prohibits conduct.” Id. In addressing a facial challenge to a statute authorizing warrantless

searches, the Patel Court held the “proper focus of the constitutional inquiry is the group

for whom the law is a restriction, not the group for whom the law is irrelevant.” Id. (quoting

Casey, 505 U.S. at 894). Plaintiffs argue a facial challenge is appropriate here because

transgender and cisgender girls and women, are those for “whom the law is a restriction,”

while the Act is “irrelevant” to cisgender boys. Dkt. 55, at 18 (quoting Patel, 576 U.S. at

418).

        While the Court recognizes Patel implied that the “method for defining the relevant

population” test may apply to all facial challenges, Patel unfortunately did not explain

when such test is applicable, whether it is appropriate in contexts other than abortion or the

Fourth Amendment, or how to distinguish those cases where the test is appropriately used

for facial adjudication from others where it is not. Nothing in the Patel opinion “even

explains why Casey’s method of defining the relevant population to which a statute applies

should be transplanted to adjudicate Fourth Amendment unreasonableness claims,


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especially when Casey was confined to the abortion context before Patel.” Facial Versus

As Applied Challenges, 129 HARV. L. REV. at 250. Plaintiffs do not cite, and the Court

has not located, any subsequent Ninth Circuit or Supreme Court case where Patel’s method

for defining the relevant population has been used outside the abortion or Fourth

Amendment context. Absent such guidance, the Court declines to extend Patel to create a

new exception to Salerno’s “no set of circumstances test” here.

      Plaintiffs also suggest that a motion to dismiss is not the proper vehicle for

Defendants’ opposition to their facial challenge, as the distinction between facial and as-

applied challenges “goes to the breadth of the remedy employed by the Court, not what

must be pleaded in a complaint.” Citizens United v. Fed. Election Comm’n, 558 U.S. 310,

331 (2010). However, Citizens United involved a facial challenge to a federal statute which

purportedly violated plaintiffs’ First Amendment rights. As noted supra, note 26, Salerno

does not apply to facial challenges under the First Amendment. Lawall, 180 F.3d at 1026.

As such, Citizens United appears inapplicable to cases where, as here, Plaintiffs facial

challenges do not involve the First Amendment.

      Further, the District of Idaho has frequently dismissed facial challenges at the

Motion to Dismiss stage under Salerno, including facial challenges brought under the

Fourteenth Amendment. See, e.g., Almerico, 378 F. Supp. 3d at 926 (dismissing facial due

process and equal protection challenge to Idaho statute requiring any healthcare directive

executed by women in Idaho to contain provision rendering directive without force during

pregnancy); Williams v. McKay, 2020 WL 1105087, at *5 (D. Idaho March 6, 2020)

(dismissing prisoner’s facial First Amendment challenge to prison’s grievance policy);


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Wasden, 2018 WL 2275220 at *18 (dismissing all facial constitutional challenges to

Idaho’s Sexual Offender Registration and Community Right-to-Know Act).

        In sum, the Court is not convinced an exception to Salerno applies to Plaintiffs’

facial Fourteenth Amendment challenges and will dismiss such claims. The Court will not

dismiss Plaintiffs’ as-applied Fourteenth Amendment challenges to the Act.27

        C.       Motion for Preliminary Injunction (Dkt. 22)

        1. Legal Standard

        Injunctive relief “is an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 22 (2008) (citing Mazurack v. Armstrong, 520 U.S. 968, 972 (1997)). A party

seeking a preliminary injunction must establish: (1) a likelihood of success on the merits;

(2) likely irreparable harm in the absence of a preliminary injunction; (3) that the balance

of equities weighs in favor of an injunction; and (4) that an injunction is in the public

interest. Id. at 20. Where, as here, “the government is a party, these last two factors merge.”

Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nkhen v.

Holder, 556 U.S. 418, 436 (2009)).




27
  Plaintiffs also bring facial challenges under the Fourth Amendment. Given the confusion created by Patel
and uncertainty as to whether Patel applies here, the Court will deny dismissal of Plaintiffs’ facial Fourth
Amendment challenges without prejudice. However, even if the Court later determines that all of Plaintiffs’
facial challenges fail, the Court rejects Defendants’ suggestion that if the Court dismisses all facial
challenges, all of Plaintiffs’ other requests for relief, including all requests for injunctive relief, should be
dismissed. Dkt. 59, at 8. Plaintiffs seek preliminary and permanent injunctive relief enjoining enforcement
of the Act both facially and as applied. Dkt. 1, at 53 (Prayer for Relief, paragraph D, requesting injunctive
relief “as discussed above” which includes reference to Plaintiffs’ as-applied challenges in paragraphs A
and B). Dismissal of Plaintiffs’ facial challenges does not require dismissal of their requests for injunctive
relief.


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       A preliminary injunction can take two forms. A prohibitory injunction prohibits a

party from taking action and “preserve[s] the status quo pending a determination of the

action on the merits.” Chalk v. U.S. Dist. Court, 840 F.2d 701, 704 (9th Cir. 1988). A

mandatory injunction “orders a responsible party to take action.” Meghrig v. KFC W., Inc.,

516 U.S. 479, 484 (1996). A mandatory injunction “‘goes well beyond simply maintaining

the status quo,’” requires a heightened burden of proof, and is “‘particularly disfavored.’”

Marlyn Nutraceuticals, Inc. v. MucosPharma GmbH & Co., 571 F.3d 873, 879 (9th Cir.

2009) (quoting Anderson v. U.S., 612 F.2d 1112, 1114 (9th Cir. 1980)). In general,

mandatory injunctions “‘are not granted unless extreme or very serious damage will result

and are not issued in doubtful cases or where the injury complained of is capable of

compensation in damages.’” Id. (quoting Anderson, 612 F.2d at 111).

       While the parties do not address the issue, the relevant “status quo” for purposes of

an injunction “refers to the legally relevant relationship between the parties before the

controversy arose.” Arizona Dream Act Coal. v. Brewer, 757 F.3d 1053, 1061 (9th Cir.

2014) (emphasis in original); see also Regents of Univ. of California v. Am. Broad.

Companies, Inc., 747 F.2d 511, 514 (9th Cir. 1984) (for purposes of injunctive relief, the

status quo means “the last uncontested status which preceded the pending controversy”)

(internal quotation marks and citation omitted). Here, Plaintiffs’ motion for preliminary

injunction was filed to contest the enforceability of H.B. 500—Idaho’s new Act. The status

quo, therefore, is the policy in Idaho prior to H.B.500’s enactment. Injunctions that prohibit

enforcement of a new law or policy are prohibitory, not mandatory. Arizona Dream Act,

757 F.3d at 1061; Bay Area Addiction Research & Treatment, Inc. v. City of Antioch, 179


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F.3d 725, 732 n. 13 (9th Cir. 1999) (requested preliminary injunction against enforcement

of new zoning ordinance was not subject to heightened burden of proof since relief sought

was prohibitory injunction that preserved the status quo pending a decision on the merits).

Thus, if the Court grants Plaintiffs’ preliminary injunction, it will be issuing a prohibitory

injunction to preserve the status quo pending trial on the merits, rather than forcing

Defendants to take action.

       2. Analysis

       a. Equal Protection Clause

       The Equal Protection Clause of the Fourteenth Amendment requires that all

similarly situated people be treated alike. City of Cleburne Living Ctr., Inc., 473 U.S. 432,

439 (1985). Equal protection requirements restrict state legislative action that is

inconsistent with core constitutional guarantees, such as equality in treatment. Obergefell

v. Hodges, 135 S. Ct. 2584, 2603 (2015). However, the Fourteenth Amendment’s “promise

that no person shall be denied the equal protection of the laws must coexist with the

practical necessity that most legislation classifies for one purpose or another, with resulting

disadvantage to various groups or persons.” Romer v. Evans, 517 U.S. 620, 631 (1996).

The Supreme Court has attempted to reconcile this reality with the equal protection

principle by developing tiers of judicial scrutiny. Latta v. Otter, 19 F. Supp. 3d 1054, 1073

(D. Idaho) (“Latta I”), aff’d, Latta v. Otter, 771 F.3d 456 (9th Cir. 2014) (“Latta II”). “The

level of scrutiny depends on the characteristics of the disadvantaged group or the rights

implicated by the classification.” Latta I, 19 F. Supp. 3d at 1073.




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       When a state restricts an individual’s access to a fundamental right, the policy must

withstand strict scrutiny, which requires that the government action serves a compelling

purpose and that it is the least restrictive means of doing so. San Antonio Indep. Sch. Dist.

v. Rodriguez, 411 U.S. 1, 16-17 (1973). The Supreme Court has recognized that the

Constitution protects a number of fundamental rights, including the right to privacy

concerning consensual sexual activity, Lawrence v. Texas, 539 U.S. 558, 578 (2003), the

right to marriage, Obergefell, 135 S. Ct. at 2599, and the right to reproductive autonomy,

Eisenstadt v. Baird, 405 U.S. 438, 455 (1972). Access to interscholastic sports is not,

however, a constitutionally recognized fundamental right. See, e.g, Walsh v. La. High Sch.

Athletic Ass’n, 616 F.2d 152, 159–60 (5th Cir. 1980) (explaining that a student’s interest

in playing sports “amounts to a mere expectation rather than a constitutionally protected

claim of entitlement[.]”).

       When a fundamental right is not at stake, a court must analyze whether the

government policy discriminates against a suspect class. Cleburne, 473 U.S. at 440

(identifying race, alienage, and national origin as suspect classifications vulnerable to

pernicious discrimination). Because government policies that discriminate on the basis of

race or national origin typically reflect prejudice, such policies will survive only if the law

survives strict scrutiny. Id. Strict scrutiny review is so exacting that most laws subjected to

this standard fail, leading one former Supreme Court Justice to quip that strict scrutiny

review is “strict in theory, but fatal in fact.” Fullilove v. Klutznick, 448 U.S. 448, 519

(1980).

       Statutes that discriminate on the basis of sex, a “quasi-suspect” classification, need


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to withstand the slightly less stringent standard of “heightened” scrutiny.28 Craig v. Boren,

429 U.S. 190, 197 (1976); United States v. Virginia, 518 U.S. 515, 533 (1996) (“VMI”).

To withstand heightened scrutiny, classification by sex “must serve important

governmental objectives and must be substantially related to achievement of those

objectives.” Craig, 429 U.S. at 197. “The purpose of this heightened level of scrutiny is to

ensure quasi-suspect classifications do not perpetuate unfounded stereotypes or second-

class treatment.” Latta I, 19 F. Supp. 3d at 1073 (citing VMI, 518 U.S. at 533).

        The District of Idaho determined transgender individuals qualify as a quasi-suspect

class in F.V. v. Barron, 286 F. Supp. 3d 1131, 1143–1145 (2018) (“Barron”).29 While not

specifically stating that transgender individuals constitute a quasi-suspect class, the Ninth

Circuit has also held that heightened scrutiny applies if a law or policy treats transgender

persons in a less favorable way than all others. Karnoski v. Trump, 926 F.3d 1180, 1201

(2019). Further, although in the context of Title VII, the Supreme Court has, as mentioned,

recently stated, “it is impossible to discriminate against a person for being . . . transgender



28
  Heightened scrutiny is also referred to as “intermediate scrutiny.” See, e.g., Clark v. Jeter, 486 U.S. 456,
461 (1988). The Court uses the term “heightened” scrutiny for consistency.
29
   As the Barron Court explained, the Supreme Court employs a four-factor test to determine whether a
class qualifies as suspect or quasi-suspect: (1) when the class has been “historically subjected to
discrimination;” (2) has a defining characteristic bearing no “relation to ability to perform or contribute to
society;” (3) has “obvious, immutable, or distinguishing characteristics;”” and (4) is “a minority or is
politically powerless.” Id. at 1144 (quoting United States v. Windsor, 570 U.S. 744 (2003)). The Barron
Court determined transgender individuals meet each of these criteria. Id. This test has also been employed
by district courts in other states to find transgender people are a quasi-suspect class. For instance, in Adkins
v. City of New York, 143 F. Supp. 3d 134, 139 (S.D.N.Y.), the court determined: (1) transgender individuals
have a history of persecution and discrimination and, moreover, “this history of persecution and
discrimination is not yet history”; (2) transgender status bears no relation to ability to contribute to society;
(3) transgender status is a sufficiently discernible characteristic to define a discrete minority class; and (4)
transgender individuals are a politically powerless minority. Id. at 139.


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without discriminating against that individual based on sex.” Bostock v. Clayton Cty., Ga.,

140 S. Ct. 1731, 1741 (2020).

        Finally, the least stringent level of scrutiny is rational basis review. Rational basis

review is applied to laws that impose a difference in treatment between groups but do not

infringe upon a fundamental right or target a suspect or quasi-suspect class. Heller v. Doe,

509 U.S. 312, 319–321 (1993). “[A] classification neither involving fundamental rights nor

proceeding along suspect lines is accorded a strong presumption of validity.” Id. at 319

(citations omitted). Rational-basis review in equal protection analysis “is not a license for

courts to judge the wisdom, fairness, or logic of legislative choices.” Id. (quoting FCC v.

Beach Communications, Inc., 508 U.S. 307, 313 (1993)). Under rationale basis review, a

classification “must be upheld against equal protection challenge if there is any reasonably

conceivable state of facts that could provide a rational basis for the classification.” Id. at

320 (quoting Beach, 508 U.S. at 313).30

        b. Appropriate level of scrutiny

        Plaintiffs argue heightened scrutiny is appropriate in this case because the Act

discriminates on the basis of both transgender status and sex. Dkt. 22-1, at 12 (citing VMI,

518 U.S. at 55). Defendants acknowledge that the Act may be subject to heightened



30
  Yet, even under rational basis review, if a court finds that a classification is “born of animosity toward
the class of persons affected,” a law that implicates neither a suspect classification nor a fundamental right
may be ruled constitutionally invalid. Romer, 517 U.S. at 634; United States Department of Agriculture v.
Moreno, 413 U.S. 528 (1973) (striking down provision of Food Stamp Act that denied food stamps to
households of unrelated individuals where the legislative history suggested Congress passed the provision
in an effort to prevent “hippie communes” from receiving food stamps). Thus, even under rational basis
review, a policy that is primarily motivated by animus will not pass constitutional muster. Id. at 534.



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scrutiny but suggest the Act does not discriminate on the basis of transgender status or sex

because it simply “treats all biological males the same and prohibits them from

participating in female sports to protect athletic opportunities for biological females.” Dkt.

41, at 13 n. 8. While contending, “[n]either the Supreme Court nor the Ninth Circuit has

recognized ‘gender identity’ as a suspect class,”31 the Intervenors argue the Act nonetheless

passes heightened scrutiny. Dkt. 46, at 13–18. Finally, the United States contends that even

assuming, arguendo, that the Act triggers heightened scrutiny, it “readily withstand[s] this

form of review.” Dkt. 53, at 5.

        Because all parties focus their arguments on the Act’s ability to withstand

heightened scrutiny, and because the Court finds heightened scrutiny is appropriate

pursuant to Craig, 429 U.S. at 197, VMI, 518 U.S. at 533, Barron, 286 F. Supp. 3d at 1144,

and Karnoski, 926 F.3d at 1201, the Court applies this level of review.32

        c. Likelihood of Success on the Merits-Lindsay

            i. Discrimination based on transgender status

        Defendants and the United States suggest the Act does not discriminate against

transgender individuals because it does not expressly use the term “transgender” and

because the Act does not ban athletes on the basis of transgender status, but rather on the

basis of the innate physiological advantages males generally have over females. Dkt. 41,



31
  However, as noted supra, the Ninth Circuit has explicitly held heightened scrutiny applies if a law or
policy treats transgender persons in a less favorable way than all others. Karnoski, 926 F.3d at 1201.
32
  While maintaining heightened scrutiny is appropriate, Plaintiffs also argue the Act fails even rational
basis review. Dkt. 22-1, at 12, 25–26. Because the Court finds provisions of the Act fail to withstand
heightened scrutiny, it does not further address this argument.


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at 13 n. 8; Dkt. 53, at 13. The Ninth Circuit rejected a similar argument in Latta II, 771

F.3d at 468. In Latta II, the Ninth Circuit considered defendants’ claim that Idaho and

Nevada’s same-sex marriage bans did not discriminate on the basis of sexual orientation,

but rather on the basis of procreative capacity. The Ninth Circuit rebuffed this contention,

explaining:

       Effectively if not explicitly, [defendants] assert that while these laws may
       disadvantage some same-sex couples and their children, heightened scrutiny
       is not appropriate because differential treatment by sexual orientation is an
       incidental effect of, but not the reason for, those laws. However, the laws at
       issue distinguish on their face between opposite-sex couples, who are
       permitted to marry and whose out-of-state marriages are recognized, and
       same-sex couples, who are not permitted to marry and whose marriages are
       not recognized. Whether facial discrimination exists ‘does not depend on
       why’ a policy discriminates, ‘but rather on the explicit terms of the
       discrimination.’ Hence, while the procreative capacity distinction that
       defendants seek to draw could represent a justification for the discrimination
       worked by the laws, it cannot overcome the inescapable conclusion that
       Idaho and Nevada do discriminate on the basis of sexual orientation.

Id. at 467–68 (emphasis in original) (quoting Int’l Union, United Auto., Aerospace & Agr.

Implement Workers of Am., UAW v. Johnson Controls, Inc., 499 U.S. 187, 199 (1991)).

       Similarly, the Act on its face discriminates between cisgender athletes, who may

compete on athletic teams consistent with their gender identity, and transgender women

athletes, who may not compete on athletic teams consistent with their gender identity.

Hence, while the physiological differences the Defendants suggest support the categorical

bar on transgender women’s participation in women’s sports may justify the Act, they do

not overcome the inescapable conclusion that the Act discriminates on the basis of

transgender status. Id. at 468.




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       As mentioned, the Ninth Circuit has held that classifications based on transgender

status are subject to heightened scrutiny. Karnoski, 926 F.3d at 1201. The Court

accordingly applies heightened scrutiny to the Act. Under this level of scrutiny, four

principles guide the Court’s equal protection analysis. The Court: (1) looks to the

Defendants to justify the Act; (2) must consider the Act’s actual purposes; (3) need not

accept hypothetical, post hoc justifications for the Act; and (4) must decide whether

Defendants’ proffered justifications overcome the injury and indignity inflicted on

Plaintiffs and others like them. Latta I, 19 F. Supp. 3d at 1077. When applying heightened

scrutiny, the Court does not adopt the strong presumption in favor of constitutionality or

heavy deference to legislative judgments characteristic of rational basis review. SmithKline

Beecham Corp. v. Abbott Laboratories, 740 F.3d 471, 483 (9th Cir. 2014). Further, under

heightened scrutiny review, the Court must examine the Act’s “actual purposes and

carefully consider the resulting inequality to ensure that our most fundamental institutions

neither send nor reinforce messages of stigma or second-class status.” Latta II, 771 F.3d at

468 (quoting SmithKline, 740 F.3d at 483).

          ii. The Ninth Circuit’s holding in Clark

       At the outset, the Court recognizes that sex-discriminatory policies withstand

heightened scrutiny when sex classification is “not invidious, but rather realistically

reflects the fact that the sexes are not similarly situated in certain circumstances.” Michael

M. v. Superior Ct. of Sonoma Cty., 450 U.S. 462, 469 (1981) (upholding law that held only

males criminally liable for statutory rape because the consequences of teenage pregnancy

essentially fall only on girls, so applying statutory rape law solely to men was justified


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since men suffer fewer consequences of their conduct). The Equal Protection Clause does

not require courts to disregard the physiological differences between men and women.

Michael M., 450 U.S. at 481; Clark, 695 F.2d at 1131.

       As repeatedly highlighted by Defendants, the Intervenors, and the United States

(collectively hereinafter the Act’s “Proponents”), the Ninth Circuit in Clark held that there

“is no question” that “redressing past discrimination against women in athletics and

promoting equality of athletic opportunity between the sexes” is “a legitimate and

important governmental interest” justifying rules excluding males from participating on

female teams. Clark, 695 F.2d at 1131. In Clark, the Ninth Circuit determined a policy in

Arizona of excluding boys from girls’ teams simply recognized “the physiological fact that

males would have an undue advantage competing against women,” and would diminish

opportunity for females. Id. at 1131. The Clark Court also explained that “even wiser

alternatives to the one chosen” did not invalidate Arizona’s policy since it was

“substantially related to the goal” of providing fair and equal opportunities for females to

participate in athletics. Id. at 1132.

       While the Court recognizes and accepts the principals outlined in Clark, Clark’s

holding regarding general sex separation in sport, as well as the justifications for such

separation, do not appear to be implicated by allowing transgender women to participate

on women’s teams. In Clark, the Ninth Circuit held that it was lawful to exclude cisgender

boys from playing on a girls’ volleyball team because: (1) women had historically been

deprived of athletic opportunities in favor of men; (2) as a general matter, men had equal

athletic opportunities to women; and (3) according to stipulated facts, average


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physiological differences meant that “males would displace females to a substantial extent”

if permitted to play on women’s volleyball teams. Clark, 695 F.2d at 1131. These principals

do not appear to hold true for women and girls who are transgender.

        First, like women generally, women who are transgender have historically been

discriminated against, not favored. See, e.g., Barron, 286 F. Supp. 3d at 1143–1145. In a

large national study, 86% of those perceived as transgender in a K–12 school experienced

some form of harassment, and for 12%, the harassment was severe enough for them to

leave school. National Center for Transgender Equality, 2015 U.S. Transgender Survey:

Idaho                        State                       Report                        1–2,

https://www.transequality.org/sites/default/files/docs/usts/USTSIDStateReport%281017

%29.pdf (October 2017). According to the same study, 48% of transgender people in Idaho

have experienced homelessness in their lifetime, and 25% were living in poverty. Id. Rather

than a general separation between a historically advantaged group (cisgender males) and a

historically disadvantaged group (cisgender women), the Act excludes a historically

disadvantaged group (transgender women) from participation in sports, and further

discriminates against a historically disadvantaged group (cisgender women) by subjecting

them to the sex dispute process. The first justification for the Arizona policy at issue in

Clark is not present here.

        Second, under the Act, women and girls who are transgender will not be able to

participate in any school sports, unlike the boys in Clark, who generally had equal athletic

opportunities. Clark, 695 F.2d at 1131; Dkt. 58-3, at ¶¶ 24–28 (explaining that forcing a

transgender woman to participate on a men’s team would be forcing her to be cisgender,


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which is “associated with adverse mental health outcomes.”); see also Dkt. 22-6, ¶¶ 35–

37. Participating in sports on teams that contradict one’s gender identity “is equivalent to

gender identity conversion efforts, which every major medical association has found to be

dangerous and unethical.” Dkt. 58, at 11 (citing Dkt. 58-3, ¶¶ 24–28).33 As such, the Act’s

categorical exclusion of transgender women and girls entirely eliminates their opportunity

to participate in school sports—and also subjects all cisgender women to unequal treatment

simply to play sports—while the men in Clark had generally equal athletic opportunities.

        Third, it appears transgender women have not and could not “displace” cisgender

women in athletics “to a substantial extent.” Clark, 695 F.2d at 1131. Although the ratio of

males to females is roughly one to one, less than one percent of the population is

transgender. Dkt. 22-1, at 22. Presumably, this means approximately one half of one

percent of the population is made up of transgender females. It is inapposite to compare

the potential displacement allowing approximately half of the population (cisgender men)

to compete with cisgender women, with any potential displacement one half of one percent

of the population (transgender women) could cause cisgender women. It appears untenable

that allowing transgender women to compete on women’s teams would substantially



33
  The Intervenors rely on an expert opinion from Dr. Stephen Levine claiming gender-affirming policies
(such as allowing transgender individuals to play on sports teams consistent with their gender identity) are
instead harmful to transgender individuals. See generally, Dkt. 46-2. However, another judge of this Court
previously determined that Dr. Levine is an outlier in the field of gender dysphoria and placed “virtually
no weight” on his opinion in a case involving a transgender prisoner’s medical care. Edmo v. Idaho Dep’t
of Corr., 258 F. Supp. 3d 1103, 1125 (D. Idaho 2018) (vacated in part on other grounds in Edmo v. Corizon,
935 F.3d 757 (9th Cir. 2019)); see also Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1188–89 (N.D. Cal.
2015) (noting Dr. Levine’s expert opinion overwhelmingly relied on generalizations about gender
dysphoria, contained illogical inferences, and admittedly included references to a fabricated anecdote). At
this stage of the proceedings, the Court accepts Plaintiffs’ evidence regarding the harm forcing transgender
individuals to deny their gender identity can cause.


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displace female athletes.34

        And fourth, it is not clear that transgender women who suppress their testosterone

have significant physiological advantages over cisgender women. The Court discusses the

distinction between physical differences between men and women in general, and physical

differences between transgender women who have suppressed their testosterone for one

year and women below. However, the interests at issue in Clark—Defendants’ central

authority—pertained to sex separation in sport generally and are not necessarily

determinative here.35

        iii. The Act’s justifications

        The legislative findings and purpose portion of the Act suggests it fulfills the

interests of promoting sex equality, providing opportunities for female athletes to


34
   The United States suggests the Ninth Circuit held participation by just one cisgender boy on the girls’
volleyball team would “set back” the “goal of equal participation by females in interscholastic sports.” Dkt.
52, at 10 (citing Clark by and through Clark v. Arizona Interscholastic Ass’n, 886 F.2d 1191, 1193 (1989)
(“Clark II”). The part of Clark II the United States references responded to plaintiff’s “mystifying”
argument that the Arizona school association had been “wholly deficient in its efforts to overcome the
effects of past discrimination against women in interscholastic athletics, and that this failure vitiate[d] its
justification for a girls-only volleyball team.” Id. The Ninth Circuit noted that it was true that participation
in Arizona interscholastic sports was still far from equal. Id. In light of this inequity, the Clark II Court
could not see how plaintiff’s “remedy” of allowing him to play on the girl’s team would help. Id. Thus, the
Clark II Court’s statement regarding participation by one male athlete was in the context of plaintiff’s
argument that he should be permitted to play on the girl’s team because there was no justification for
women’s teams. Id. The Clark II Court remained focused on the risk that a ruling in plaintiff’s favor would
extend to all boys and would engender substantial displacement of girls in school sports. Id. (observing that
the issue of “males . . . outnumber[ing] females in sports two to one” in school sports would “not be solved
by opening the girls’ team to Clark and other boys.”) (emphasis added); see also id. (“Clark does not dispute
our conclusion in Clark I that ‘due to physiological differences, males would displace females to a
substantial extent if they were allowed to compete for positions on the volleyball team.”) (quoting Clark,
695 F.2d at 1131) (emphasis added).
35
  As Attorney General Wasden advised the legislature before it passed the Act: “The issue of a transgender
female wishing to participate on a team with other women requires considerations beyond those considered
in Clark and presents issues that courts have not yet resolved.” Letter from Attorney General Wasden to
Rep.       Rubel         (Feb.        25,       2020),       https://www.idahostatesman.com/latest-news
article240619742.ece/BINARY/HB%20500%20Idaho%20AG%20response.pdf.


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demonstrate their skill, strength, and athletic abilities, and by providing female athletes

with opportunities to obtain college scholarship and other accolades. Idaho Code § 33-

6202(12). Plaintiffs do not dispute that these are important governmental objectives. They

instead argue that the Act is not substantially related to such important governmental

interests. At this stage of the litigation, and without further development of the record, the

Court is inclined to agree.

        (1) Promoting Sex Equality and Providing Opportunities for Female Athletes

        As discussed, supra, section II.C, the legislative record reveals no history of

transgender athletes ever competing in sports in Idaho, no evidence that Idaho female

athletes have been displaced by Idaho transgender female athletes, and no evidence to

suggest a categorical bar against transgender female athlete’s participation in sports is

required in order to promote “sex equality” or to “protect athletic opportunities for females”

in Idaho. Idaho Code § 33-6202(12); see Dkt. 1, at ¶¶ 80–83. Rather than presenting

empirical evidence that transgender inclusion will hinder sex equality in sports or athletic

opportunities for women, both the Act itself and Proponents’ rely exclusively on three

transgender athletes who have competed successfully in women’s sports.

        Specifically, during the entire legislative debate over the Act, the only transgender

women athletes referenced were two high school runners who compete in Connecticut, and

who were, notably, also defeated by cisgender girls in recent races.36 Dkt. 22-3, Ex. B, at

8; see also Associated Press, Cisgender female who sued beats transgender athlete in high


36
  Rep. Ehardt also vaguely referenced a college transgender athlete, but it is not clear from the record who
this athlete is or where she competed. Dkt. 22-3, Ex. B, at 8.


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school race, https://www.fox61.com/article/news/local/transgender-athlete-loses-track-

race-lawsuit-ciac-high-school-sports/520-df66c6f5-5ca9-496b-a6ba-61c828655bc6 (Feb.

15, 2020). Notably, unlike the IHSAA and NCAA rules in place in Idaho before the Act,

Connecticut does not require a transgender woman athlete to suppress her testosterone for

any time prior to competing on women’s teams. Dkt. 41, at 33; Dkt. 45, at 7.

        The Intervenors identify a third transgender athlete, June Eastwood, and argue that

their athletic opportunities were limited by Eastwood’s participation in women’s sports.

Dkt. 46, at 8. The State also highlights this example. Dkt. 41, at 18. However, Eastwood

was not an Idaho athlete and the competition at issue took place at the University of

Montana. Dkt. 45, at 10 n. 7. So, the Idaho statute would have no impact on Eastwood.

More importantly, although the Intervenors lost to Eastwood, Eastwood was also

ultimately defeated by her cisgender teammate. Id. And, losing to Eastwood at one race did

not deprive the Intervenors from the opportunity to compete in Division I sports, as both

continue to compete on the women’s cross-country and track teams with ISU. Dkt. 30-1,

at 2.

        The evidence cited during the House Debate on H.B. 500 and in the briefing by the

Proponents regarding three transgender women athletes who have each lost to cisgender

women athletes does not provide an “exceedingly persuasive” justification for the Act.

VMI, 518 U.S. at 533 (“To summarize the Court’s current directions for cases of official

classification based on gender: Focusing on the differential treatment for denial of

opportunity for which relief is sought, the reviewing court must determine whether the

proffered justification is ‘exceedingly persuasive.’”). Heightened scrutiny requires that a


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law solves an actual problem and that the “justification must be genuine, not hypothesized.”

VMI, 518 U.S. at 533. In the absence of any empirical evidence that sex inequality or access

to athletic opportunities are threatened by transgender women athletes in Idaho, the Act’s

categorical bar against transgender women athletes’ participation appears unrelated to the

interests the Act purportedly advances.

       Plaintiffs have also presented compelling evidence that equality in sports is not

jeopardized by allowing transgender women who have suppressed their testosterone for

one year to compete on women’s teams. Plaintiffs’ medical expert, Dr. Joshua Safer,

suggests that physiological advantages are not present when a transgender woman

undergoes hormone therapy and testosterone suppression. Before puberty, boys and girls

have the same levels of circulating testosterone. Dkt. 22-9, at ¶ 23. After puberty, the

typical range of circulating testosterone for cisgender women is similar to before puberty,

and the circulating testosterone for cisgender men is substantially higher. Id.

       Dr. Safer contends there “is a medical consensus that the difference in testosterone

is generally the primary known driver of differences in athletic performance between elite

male athletes and elite female athletes.” Dkt. 22-9, at ¶ 25. Dr. Safer highlights the only

study examining the effects of gender-affirming hormone therapy on the athletic

performance of transgender athletes. Id. at ¶ 51. The small study showed that after

undergoing gender affirming intervention, which included lowering their testosterone

levels, the athletes’ performance was reduced so that relative to cisgender women, their

performance was proportionally the same as it had been relative to cisgender men prior to

any medical treatment. Id. In other words, a transgender woman who performed 80% as


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well as the best performer among men of that age before transition would also perform at

about 80% as well as the best performer among women of that age after transition. Id.

       Defendants’ medical expert, Dr. Gregory Brown, also confirms that male’s

performance advantages “result, in large part (but not exclusively), from higher

testosterone concentrations in men, and adolescent boys, after the onset of male puberty.”

Dkt. 41-1, at ¶ 17. While Dr. Brown maintains that hormone and testosterone suppression

cannot fully eliminate physiological advantages once an individual has passed through

male puberty, the Court notes some of the studies Dr. Brown relies upon actually held the

opposite. Compare Dkt. 41-1, at ¶ 81 with Dkt. 58-2, at ¶ 7 (highlighting that the

Handelsman study upon which Dr. Brown relies states that “evidence makes it highly likely

that the sex difference in circulating testosterone of adults explains most, if not all, of the

sex differences in sporting performance.”). Further, the majority of the evidence Dr. Brown

cites, and most of his declaration, involve the differences between male and female athletes

in general, and contain no reference to, or information about, the difference between

cisgender women athletes and transgender women athletes who have suppressed their

testosterone. Dkt. 41-1, at ¶¶ 12–112, 114–125.

       Yet, the legislative findings for the Act contend that even after receiving hormone

and testosterone suppression therapy, transgender women and girls have “an absolute

advantage” over non-transgender girls. Idaho Code § 33-6202(11). In addition to the

evidence cited above, several factors undermine this conclusion. For instance, there is a

population of transgender girls who, as a result of puberty blockers at the start of puberty

and gender affirming hormone therapy afterward, never go through a typical male puberty


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at all. Dkt. 22-9, ¶ 47. These transgender girls never experience the high levels of

testosterone and accompanying physical changes associated with male puberty, and instead

go through puberty with the same levels of hormones as other girls. Id. As such, they

develop typically female physiological characteristics, including muscle and bone

structure, and do not have an ascertainable advantage over cisgender female athletes. Id.

Defendants do not address how transgender girls who never undergo male puberty can have

“an absolute advantage” over cisgender girls. Nor do Defendants address why transgender

athletes who have never undergone puberty should be categorically excluded from playing

women’s sports in order to protect sexual equality and access to opportunities in women’s

sports.

          The Act’s legislative findings do claim the “benefits that natural testosterone

provides to male athletes is not diminished through the use of puberty blockers and cross-

sex hormones.” Idaho Code § 33-6202(11). However, the study cited in support of this

proposition was later altered after peer review, and the conclusions the legislature relied

upon were removed. Dkt. 58, at 17; Dkt. 58-2, at ¶ 19; Dkt. 62 at 80:10–25; 81:1–10;

95:24–25, 96. Defendants provide no explanation as to why the Legislators relied on the

pre-peer review version of the article or why Defendants did not correct this fact in their

briefing after the peer reviewed version was published. In fact, the study did not involve

transgender athletes at all, but instead considered the differences between transgender men

who increased strength and muscle mass with testosterone treatment, and transgender

women who lost some strength and muscle mass with testosterone suppression. Dkt. 58, at

17. The study also explicitly stated it “is important to recognize that we only assessed


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proxies for athletic performance . . . it is still uncertain how the findings would translate to

transgender athletes.” Anna Wiik et. al, Muscle Strength, Size, and Composition Following

12 months of Gender-affirming Treatment in Transgender Individual, J. CLIN. METAB.,

105(3):e805-e813 (2020).37

        In addition, several of the Act’s legislative findings which purportedly demonstrate

the “absolute advantage” of transgender women are based on a study by Doriane Lambelet

Coleman. Idaho Code § 33-6202(5), (10). Professor Coleman herself urged Governor Little

to veto H.B. 500 because her work was misused, and she also endorsed the NCAA’s rule

of allowing transgender women to participate after one year of hormone and testosterone

suppression. Betsy Russell, Professor whose work is cited in HB500a, the transgender

athletes bill, says bill misuses her research and urges veto, IDAHO PRESS

https://www.idahopress.com/eyeonboise/professor-whose-work-is-cited-in-hb-a-the-

transgenderarticle_0e800202-cacl-5721-a7690328665316a8.html (Mar. 19, 2020).

        The policies of elite athletic regulatory bodies across the world, and athletic policies

of most every other state in the country, also undermine Defendants’ claim that transgender

women have an “absolute advantage” over other female athletes. Specifically, the

International Olympic Committee and the NCAA require transgender women to suppress

their testosterone levels in order to compete in women’s athletics. Id. at ¶ 45. The NCAA


37
   The legislative findings and the citations in the Proponents’ briefs cite this study as Tommy Lundberg et
al., Muscle strength, size and composition following 12 months of gender-affirming treatment in
transgender individuals: retained advantage for transwomen, Karolinska Institute (Sept. 26, 2019). The
correct reference for the published study is Anna Wiik et al., Muscle Strength, Size, and Composition
following 12 Months of Gender-affirming Treatment in Transgender Individuals, J. CLIN. METAB.,
105(3):e805-e813 (2020).



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policy was implemented in 2011 after consultation with medical, legal, and sports experts,

and has been in effect since that time. Dkt. 1, ¶ 76. Millions of student-athletes have

competed in the NCAA since 2011, with no reported examples of any disturbance to

women’s sports as a result of transgender inclusion.38 Id. Similarly, every other state in the

nation permits women and girls who are transgender to participate under varying rules,

including some which require hormone suppression prior to participation. The Proponents’

failure to identify any evidence of transgender women causing purported sexual inequality

other than four athletes (at least three of whom who have notably lost to cisgender women)

is striking in light of the international and national policy of transgender inclusion.

        Finally, while general sex separation on athletic teams for men and women may

promote sex equality and provide athletic opportunities for females, that separation

preexisted the Act and has long been the status quo in Idaho. Existing rules already

prevented boys from playing on girls’ teams before the Act. IHSAA Non-Discrimination

Policy, http://idhsaa.org/asset/RULE%2011.pdf (“If a sport is offered for both boys and

girls, girls must play on the girls team and boys must play on the boys team. . . If a school

sponsors only a single team in a sport. . . Girls are eligible to participate on boys’ teams. .

. . Boys are not eligible to participate on girls’ teams.”). However, the IHSAA policy also

allows transgender girls to participate on girls’ teams after one year of hormone



38
   In their Response to the Motion for Preliminary Injunction, Defendant’s highlight the circumstances of
one transgender woman athlete who competed in women’s sports after suppressing her hormones, Cece
Telfer, to suggest testosterone suppression does not eliminate the physiological advantages of transgender
women athletes. Dkt. 41, at 17–18. The Court finds, and Defendants concede, that such anecdotal evidence
does not establish that hormone therapy is ineffective in reducing athletic performance advantages in
transgender women athletes. Id. at 18.


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suppression. Similarly, the existing NCAA rules also preclude men from playing on

women’s teams but allow transgender women to compete after one year of testosterone

suppression. Because Proponents fail to show that participation by transgender women

athletes threatened sexual equality in sports or opportunities for women under these pre-

existing policies, the Act’s proffered justifications do not appear to overcome the inequality

it inflicts on transgender women athletes.

       The Ninth Circuit in Clark ruled that sex classification can be upheld only if sex

represents “a legitimate accurate proxy.” Clark, 695 F.2d at 1129. The Clark Court further

explained the Supreme Court has soundly disapproved of classifications that reflect

“archaic and overbroad generalizations,” and has struck down gender-based policies when

the policy’s proposed compensatory objective was without factual justification. Id. Given

the evidence highlighted above, it appears the “absolute advantage” between transgender

and cisgender women athletes is based on overbroad generalizations without factual

justification.

       Ultimately, the Court must hear testimony from the experts at trial and weigh both

their credibility and the extent of the scientific evidence. However, the incredibly small

percentage of transgender women athletes in general, coupled with the significant dispute

regarding whether such athletes actually have physiological advantages over cisgender

women when they have undergone hormone suppression in particular, suggest the Act’s

categorical exclusion of transgender women athletes has no relationship to ensuring

equality and opportunities for female athletes in Idaho.




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       (2) Ensuring Access to Athletic Scholarships

       The Act also identifies an interest in advancing access to athletic scholarships for

women. Idaho Code § 33-6202(12). Yet, there is no evidence in the record to suggest that

the Act will increase scholarship opportunities for girls. Just as the head of the IHSAA

testified during the legislative debate on H.B. 500 that he was not aware of any transgender

girl ever playing high school girls’ sports in Idaho, there is also no evidence of a

transgender person ever receiving any athletic scholarship in Idaho. Idaho Education News,

Lawmakers hear emotional testimony but take no action on transgender bill, Idaho News

6, https://www.kivitv.com/news/education/making-the-grade/lawmakers-hear-emotional-

testimony-but-take-no-action-on-transgender (Feb. 20, 2020). Nor have the scholarships of

the Intervenors—the only identified Idaho athletes who have purportedly been harmed by

competing against a transgender woman athlete—been jeopardized. Both Intervenors

continue to run track and cross-country on scholarship with ISU, despite their loss to a

transgender woman athlete at the University of Montana. Dkt. 30-1, at 2.

       The Act’s incredibly broad sweep also belies any genuine concern with an impact

on athletic scholarships. The Act broadly applies to interscholastic, intercollegiate,

intramural, or club athletic teams or sports that are sponsored by a public primary or

secondary school, or a public institution of higher education, or any school or institution

whose students or teams compete against a public school or institution of higher education.

Idaho Code § 33-6203(1). Thus, any female athlete, from kindergarten through college, is

generally subject to the Act’s provisions. Clearly, the need for athletic scholarships is not

implicated in primary school and intramural sports in the same way that it may be for high


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school and college athletes. As such, “the breadth of the [law] is so far removed from [the]

particular justifications” put forth in support of it, that it is “impossible to credit them.”

Romer, 517 U.S. at 635.

       Based on the dearth of evidence in the record to show excluding transgender women

from women’s sports supports sex equality, provides opportunities for women, or increases

access to college scholarships, Lindsay is likely to succeed in establishing the Act violates

her right to equal protection. This likelihood is further enhanced by Defendants’

implausible argument that the Act does not actually ban transgender women, but instead

only requires a health care provider’s verification stating that a transgender woman athlete

is female. See, e.g, Dkt. 40-1, at 3; Dkt. 41, at 4; Dkt. 62, at 66:21–25; 67:1–25; 68:1–17.

       Defense counsel confirmed during oral argument that if Lindsay’s health care

provider signs a health form stating that she is female, Lindsay can play women’s sports.

Dkt. 62, at 66:21–25. In turn, Plaintiffs’ counsel affirmed that Lindsay’s health care

provider will sign a form verifying Lindsay is female. Id. at 70:5–21. If this is indeed the

case, then each of the Proponents’ arguments claiming that the Act ensures equality for

female athletes by disallowing males on female teams falls away. Under this interpretation,

the Act does not ensure sex-specific teams at all and is instead simply a means for the Idaho

legislature to express its disapproval of transgender individuals. If “equal protection of the

laws means anything, it must at the very least mean that a bare congressional desire to harm

a politically unpopular group cannot constitute a legitimate governmental interest.”

Moreno, 413 U.S. at 534.




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       (3) The Act’s Actual Purpose

       The Act’s legislative findings reinforce the idea that the law is directed at excluding

women and girls who are transgender, rather than on promoting sex equality and

opportunities for women. For instance, the Act’s criteria for determining “biological sex”

appear designed to exclude transgender women and girls and to reverse the prior IHSAA

and NCAA rules that implemented sex-separation in sports while permitting transgender

women to compete. Idaho Code § 33-6203(3).

       Specifically, an athlete subject to the Act’s dispute process may “verify” their sex

using three criteria: (1) reproductive anatomy, (2) genetic makeup, or (3) endogenous

testosterone, i.e., the level of testosterone the body produces without medical intervention.

Id. This excludes some girls with intersex traits because they cannot establish a “biological

sex” of female based on these verification metrics. Dkt. 22-9, ¶ 41. It also completely

excludes transgender girls.

       Girls under eighteen generally cannot obtain gender-affirming genital surgery to

treat gender dysphoria, and therefore will not have female reproductive anatomy. Dkt. 22-

2, ¶ 13. Many transgender women over the age of eighteen also have not had genital

surgery, either because it is not consistent with their individualized treatment plan for

gender dysphoria or because they cannot afford it. Id. With respect to genetic makeup, the

overwhelming majority of women who are transgender have XY chromosomes, so they

cannot meet the second criteria. And, by focusing on “endogenous” testosterone levels,

rather than actual testosterone levels after hormone suppression, the Act excludes

transgender women whose circulating testosterone levels are within the range typical for


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cisgender women.

       Thus, the Act’s definition of “biological sex” intentionally excludes the one factor

that a consensus of the medical community appears to agree drives the physiological

differences between male and female athletic performance. Dkt. 22-9, at ¶ 25.

Significantly, the preexisting Idaho and current NCAA rules instead focus on that factor.

That the Act essentially bars consideration of circulating testosterone illustrates the

Legislature appeared less concerned with ensuring equality in athletics than it was with

ensuring exclusion of transgender women athletes.

       In addition, it is difficult to ignore the circumstances under which the Act was

passed. As COVID-19 was declared a pandemic and many states adjourned state legislative

session indefinitely, the Idaho Legislature stayed in session to pass H.B. 500 and become

the first and only state to bar all women and girls who are transgender from participating

in school sports. Id. at ¶ 89. At the same time, the Legislature also passed another bill, H.B.

509, which essentially bans transgender individuals from changing their gender marker on

their birth certificates to match their gender identity. Governor Little signed H.B. 500 and

H.B. 509 into law on the same day. That the Idaho government stayed in session amidst an

unprecedented national shut down to pass two laws which dramatically limit the rights of

transgender individuals suggests the Act was motivated by a desire for transgender

exclusion, rather than equality for women athletes, particularly when the national shutdown

preempted school athletic events, making the rush to the pass the law unnecessary.

       Finally, the Proponents turn the Act on its head by arguing that transgender people

seek “special” treatment by challenging the Act. Dkt. 53, at 9–10; Dkt. 62, at 92:16–22.


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This argument ignores that the Act excludes only transgender women and girls from

participating in sports, and that Lindsay simply seeks the status quo prior to the Act’s

passage, rather than special treatment. Further, the Proponents’ argument that Lindsay and

other transgender women are not excluded from school sports because they can simply play

on the men’s team is analogous to claiming homosexual individuals are not prevented from

marrying under statutes preventing same-sex marriage because lesbians and gays could

marry someone of a different sex. The Ninth Circuit rejected such arguments in Latta, 771

F.3d at 467, as did the Supreme Court in Bostock, 140 S. Ct. at 1741–42.

       In short, the State has not identified a legitimate interest served by the Act that the

preexisting rules in Idaho did not already address, other than an invalid interest of

excluding transgender women and girls from women’s sports entirely, regardless of their

physiological characteristics. As such, Lindsay is likely to succeed on the merits of her

equal protection claim. Again, at this stage, the Court only discusses the “likelihood” of

success based on the information currently in the record. Actual success—or failure—on

the merits will be determined at a later stage.

       d. Likelihood of Success-Jane

       The Act additionally triggers heightened scrutiny by singling out members of girls’

and women’s teams for sex verification. VMI, 518 U.S. at 555 ([“A]ll gender-based

classifications today warrant heightened scrutiny”) (internal quotation marks and citation

omitted). Defendants argue that the Act does not treat females differently because “it

requires any athlete subject to dispute, whether male or female, to verify his or her sex.”

Dkt. 41, at 13 n. 8. Defendants suggest males are equally subject to the sex verification


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process because they may try to participate on a woman’s team. Id. This claim ignores that

all cisgender women are subject to the verification process in order to play on the team

matching their gender identity, while only a limited few (if any) cisgender men will be

subject to the verification process if they try to play on a team contrary to their gender

identity.

        Defendants’ argument also contradicts the express language of the Act, which

mandates, “[a]thletic teams or sports designated for females, women, or girls shall not be

open to students of the male sex.” Id. at § 33-6203(2) (emphasis added). Males are not

subject to the dispute process because female teams are not open to them under the Act.39

By arguing that people of any sex who seek to play women’s sports would be subject to

sex verification, Defendants ignore that the Act creates a different, more onerous set of

rules for women’s sports when compared to men’s sports. Where spaces and activities for

women are “different in kind . . . and unequal in tangible and intangible ways from those

for men, they are tested under heightened scrutiny.” VMI, 518 U.S. at 540.

        It is also clear that a sex verification examination is unequal to the physical sports

exam a male must have in order to play sports. Being subject to a sex dispute is itself

humiliating. The Act’s dispute process also creates a means that could be used to bully

girls perceived as less feminine or unpopular and prevent them from participating in sports.

And if, as the Act states, sex must be verified through a physical examination relying “only



39
  Moreover, males were already excluded from female sports teams under the long-standing rules in Idaho
prior to the Act’s passage. Defendants do not explain why women must risk being subject to the onerous
sex verification process in the name of equality in sports when women already had single sex teams without
the risk of a sex dispute prior to the Act’s passage.


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on one (1) or more of the following: the student’s reproductive anatomy, genetic makeup,

or normal endogenously produced testosterone levels,” girls like Jane may also have to

endure invasive medical tests that could constitute an invasion of privacy in order to

“verify” their sex. Idaho Code § 33-6302(3).

       As Plaintiffs’ expert, Dr. Sara Swoboda, a pediatrician in Boise with approximately

1,500 patients across Idaho, explains, none of the aforementioned physiological

characteristics are tested for in any routine sports’ physical examination. Dkt. 22-10, ¶ 21.

If a health care provider was to verify a patient’s sex related to their reproductive anatomy,

genes or hormones, none of that testing is straightforward or ethical without medical

indication. Id. at ¶ 22. Nor would it actually “verify biological sex,” “either alone or in any

combination,” as this “would not be consistent with medical science.” Id. at ¶ 21.

       For example, “‘reproductive anatomy’ is not a medical term. That could include

internal reproductive organs, external genitalia, or other body systems.” Id. at ¶ 28.

Further, “medically unnecessary pelvic examination would be incredibly intrusive and

traumatic for a patient” and would not be conducted. Id. at ¶ 29. Pelvic examinations in

“pediatric patients are limited to patients with specific concerns such as acute trauma or

infection,” and are not conducted as a general practice. Id. at ¶ 27. “In young patients, such

an exam would often be done with sedation and appropriate comfort measures to limit

psychological trauma.” Id. “Pediatric consensus recognizes that genitalia exams are always

invasive and carry the risk of traumatizing patients if not done with careful consideration

of medical utility, discussion about the purpose and subsequent findings of any exam with

the patient and their family, and explicit consent of the patient.” Id. In addition, determining


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whether an individual has ovaries or a uterus may also require more intrusive testing

including “transvaginal ultrasounds and may require referral to pediatric gynecologists,

endocrinologists, and geneticists. None of this testing would be a necessary part of a sports

physical or any standard medical examination absent medical concerns and indications of

underlying health conditions necessitating treatment.” Id. at ¶ 30.

       Similarly, determining a patient’s “genetic makeup” would require genetic testing.

Such testing is complicated and personal and reveals a significant amount of information.

Id. at ¶ 23. It is done by a specialist and would require a pediatric endocrinologist if

performed on a minor like Jane. Id. at ¶ 24. Where a patient presents with a constellation

of medical concerns that indicate a need for genetic testing, they are referred to a pediatric

endocrinologist for a chromosomal microarray:

       This type of testing reveals a significant amount of very sensitive and private
       medical information. A chromosomal microarray looks at all 23 pairs of
       chromosomes that an individual has and would reveal things beyond just
       whether a person has 46-XX, 46-XY, or some combination of sex
       chromosomes. In ordering genetic testing of this kind, a range of genetic
       conditions could be revealed to a patient and a patient’s family. [Dr.
       Swoboda does] not do genetic testing as a routine part of any medical
       evaluation and [is] not aware of any pediatric practice that would (absent
       specific medical indications). Even in cases where a patient presents with
       possible medical or genetic conditions based off of medical or family history
       that would warrant genetic testing, such testing is complex and often requires
       insurance preauthorization.

Id. at ¶ 25.

       Nor would hormone testing be conducted as a part of a normal physical

examination, or without clear medical indication. Id. at ¶¶ 21–22. Hormone testing would

also require a referral to a pediatric endocrinologist and could reveal sensitive information.



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Id. at ¶¶ 24, 31. “Specific testing of genetics, internal or external reproductive anatomy,

and hormones could reveal information that an individual was not looking to find out about

themselves and then could result in having to disclose information to a school and

community that could be deeply upsetting to pediatric patients.” Id.

       Given the significant burden the Act’s dispute process places on all women athletes,

the Court must decide whether Defendants’ proffered justifications overcome the injury

and indignity inflicted on Jane and all other female athletes through the dispute process.

SmithKline, 740 F.3d at 481–83. Instead of ensuring “long-term benefits that flow from

success in athletic endeavors for women and girls,” it appears that the Act hinders those

benefits by subjecting women and girls to unequal treatment, excluding some from

participating in sports at all, incentivizing harassment and exclusionary behavior, and

authorizing invasive bodily examinations. Idaho Code § 33-6202(12). Because, as

discussed above, Defendants have not offered evidence that the Act is substantially related

to its purported goals of promoting sex equality, providing opportunities for female

athletes, or increasing female athlete’s access to scholarship, Jane is also likely to succeed

on her equal protection claim. Idaho Code § 33-6202(12).

       e. Irreparable Harm

       Lindsay and Jane both face irreparable harm due to violations of their rights under

the Equal Protection Clause. “It is well established that the deprivation of constitutional

rights unquestionably constitutes irreparable injury.” Hernandez v. Sessions, 872 F.3d 976,

994 (9th Cir. 2017) (internal citations omitted); Monterey Mech. Co. v. Wilson, 125 F.3d




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702, 715 (9th Cir. 1997) (holding that an equal protection violation constitutes irreparable

harm).

         Beyond this dispositive presumption, Lindsay and Jane will both suffer specific

“harm for which there is no adequate legal remedy” in the absence of an injunction. Ariz.

Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014). If Lindsay is denied the

opportunity to try out for and compete on BSU’s women’s teams, she will permanently

lose a year of NCAA eligibility that she can never get back. Lindsay is also subject to an

Act that communicates the State’s “moral disproval” of her identity, which the Constitution

prohibits. Lawrence v. Texas, 539 U.S. 558, 582–83 (2003). When Jane tries out for Boise

High’s women’s soccer team, she will be subject to the possibility of embarrassment,

harassment, and invasion of privacy through having to verify her sex. Such violations are

irreparable. Obergefell, 135 S. Ct. at 2606 (“Dignitary wounds cannot always be healed

with the stroke of a pen.”). Lindsay and Jane both also face the injuries detailed supra,

section III.B.2, if the Act is not enjoined.40

         The Court accordingly finds Plaintiffs will likely suffer irreparable harm if the Act

is not enjoined. Alliance for the Wild Rockies, 632 F.3d at 1131 (noting plaintiffs must

establish irreparable harm is likely, not certain, in order to obtain an injunction).

         f. Balance of the Equities and Public Interest

         Where, as here, the government is a party, the “balance of the equities” and “public


40
   The Intervenors outrageously contend that Lindsay has not shown she will suffer irreparable harm
because she has not alleged that she will commit suicide if she is not permitted to participate on BSU’s
women’s sports teams. Dkt. 46, at 2. Clearly, a risk of suicide is not required to establish irreparable harm.
The Intervenors’ attempt to twist the tragically high suicide rate of transgender individuals into a
requirement that Lindsay must be suicidal to establish irreparable harm is distasteful.


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interest” prongs of the preliminary injunction test merge. Drakes Bay Oyster Co., 747 F.3d

at 1092. In evaluating the balance of the equities, courts “must balance the competing

claims of injury and must consider the effect on each party of the granting or withholding

of the requested relief.” Winter, 555 U.S. at 24. As explained above, Plaintiffs’ harms

weigh significantly in favor of injunctive relief.

       In stark contrast to the deeply personal and irreparable harms Plaintiffs face, a

preliminary injunction would not harm Defendants because it would merely maintain the

status quo while Plaintiffs pursue their claims. If an injunction is issued, Defendants can

continue to rely on the NCAA policy for college athletes and IHSAA policy for high school

athletes, as they did for nearly a decade prior to the Act. In the absence of any evidence

that transgender women threatened equality in sports, girls’ athletic opportunities, or girls’

access to scholarships in Idaho during the ten years such policies were in place, neither

Defendants nor the Intervenors would be harmed by returning to this status quo.

       Further, the Intervenors are themselves subject to disparate treatment under the Act.

While the Intervenors have never competed against a transgender woman athlete from

Idaho, or in Idaho, they risk being subject to the Act’s sex dispute process simply by

playing sports. As Plaintiffs’ counsel noted during oral argument, the Act “isn’t a law that

pits some group of women against another group of women. This is a law that harms all

women in the state, all women who are subject to . . . the sex verification process, and, of

course, particularly women and girls who are transgender and are now singled out for

categorical exclusion.” Dkt. 62, at 89:23–25; 90:1–4.




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       Moreover, it is “always in the public interest to prevent the violation of a party’s

constitutional rights.” Melendres, 695 F.3d at 1002. By establishing a likelihood that the

Act violates the Constitution, Plaintiffs “have also established that both the public interest

and the balance of the equities favor a preliminary injunction.” Ariz. Dream Act, 757 F.3d

at 1069 (“[T]he public interest and the balance of the equities favor preven[ting] the

violation of a party’s constitutional rights.”) (internal quotation marks and citation

omitted).

       g. Bond Requirement

       Finally, Plaintiffs request that the Court waive the bond requirement under Federal

Rule of Civil Procedure 65(c). The Ninth Circuit has held that requiring a bond “to issue

before enjoining potentially unconstitutional conduct by a governmental entity simply

seems inappropriate because . . . protection of those rights should not be contingent upon

an ability to pay.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009). In any event,

Defendants do not contest Plaintiffs’ request that the Court waive the bond. The Court will

accordingly grant Plaintiff’s request.

                                    IV.CONCLUSION

       The Court recognizes that this decision is likely to be controversial. While the

citizens of Idaho are likely to either vehemently oppose, or fervently support, the Act, the

Constitution must always prevail. It is the Court’s role—as part of the third branch of

government—to interpret the law. At this juncture, that means looking at the Act, as

enacted by the Idaho Legislature, and determining if it may violate the Constitution. In

making this determination, it is not just the constitutional rights of transgender girls and


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women athletes at issue but, as explained above, the constitutional rights of every girl and

woman athlete in Idaho. Because the Court finds Plaintiffs are likely to succeed in

establishing the Act is unconstitutional as currently written, it must issue a preliminary

injunction at this time pending trial on the merits.

                                         V.ORDER

       Now, therefore IT IS HEREBY ORDERED:

       1. The Motion to Intervene (Dkt. 30) is GRANTED;

       2. The Motion to Dismiss (Dkt. 40) is GRANTED IN PART and DENIED IN

          PART. It is GRANTED with respect to Plaintiffs’ facial Fourteenth Amendment

          constitutional challenges, it is DENIED with respect to Plaintiffs’ as-applied

          constitutional claims and in all other respects;

       3. The Motion for Preliminary Injunction (Dkt. 22) is GRANTED.


                                                  DATED: August 17, 2020


                                                  _________________________
                                                  David C. Nye
                                                  Chief U.S. District Court Judge




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